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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,
        Plaintiffs,
                                                     Case No. 1:25-cv-00333-ABA
   v.

DONALD J. TRUMP, et al.,
        Defendants



                              MEMORANDUM OPINION

        Among the executive orders the President issued on the first two days of the

administration were orders that (1) directed all executive agencies to “terminate . . .

‘equity-related’ grants or contracts” (the “Termination Provision”), (2) directed all

executive agencies to “include in every contract or grant award” a certification,

enforceable through the False Claims Act, that the contractor and grantee “does not

operate any programs promoting DEI that violate any applicable Federal anti-

discrimination laws” (the “Certification Provision”), and (3) directing the Attorney

General to take “appropriate measures to encourage the private sector to end illegal

discrimination and preferences, including DEI,” to “deter” such “programs or

principles,” and to “identify . . . potential civil compliance investigations” to accomplish

such “deter[rence]” (the “Enforcement Threat Provision”) (collectively, the “Challenged

Provisions”). 1



1 Exec. Order No. 14,151, Ending Radical and Wasteful Government DEI Programs and

Preferencing, Executive Order of January 20, 2025, 90 Fed. Reg. 8339, 8339 (Jan. 29,



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       The term “DEI,” of course, is shorthand for “diversity, equity, and inclusion.” And

ensuring equity, diversity, and inclusion has long been a goal, and at least in some

contexts arguably a requirement, of federal anti-discrimination law. But the

administration has declared “DEI” to be henceforth “illegal,” has announced it will be

terminating all “‘equity-related’ grants or contracts”—whatever the administration

might decide that means—and has made “practitioners” of what the government

considers “DEI” the targets of a “strategic enforcement plan.” J20 Order § 2; J21 Order §

4. But the Challenged Orders do not define any of the operative terms, such as “DEI,”

“equity-related,” “promoting DEI,” “illegal DEI,” “illegal DEI and DEIA 2 policies,” or

“illegal discrimination or preferences,” J20 Order §§ 1-2; J21 Order §§ 1-4—let alone

identify the types of programs or policies the administration considers “illegal.”

       According to a recent case, “approximately 20% of the nation’s labor force works

for a federal contractor.” Kentucky v. Biden, 57 F.4th 545, 548 (6th Cir. 2023). The

Termination Provision leaves those contractors and their employees, plus any other

recipients of federal grants, with no idea whether the administration will deem their

contracts or grants, or work they are doing, or speech they are engaged in, to be “equity-

related.” And the J21 Order leaves the private sector at a loss for whether the

administration will deem a particular policy, program, discussion, announcement, etc.

to be among the “preferences, mandates, policies, programs, and activities” the



2025) (“J20 Order”); Exec. Order No. 14173, Ending Illegal Discrimination and
Restoring Merit-Based Opportunity, Executive Order of January 21, 2025, 90 Fed. Reg.
8633, 8634-35 (Jan. 31, 2025) (“J21 Order”) (collectively, the “Orders” or “Challenged
Orders”) (emphasis added).
2 The J20 defines this phrase as “diversity, equity, inclusion, and accessibility.” J20

Order § 2(a).


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administration now deems “illegal.” J21 Order §§ 2, 4(b)(iii). Plaintiffs, who have easily

established their standing to bring this case and irreparable harm, have shown they are

likely to prove the Termination and Enforcement Threat Provisions are

unconstitutionally vague on their face.

       But it is not just the vagueness of the Challenged Provisions that renders them

unconstitutional. There is a label for government action that seeks to “deter . . .

principles,” J21 Order § 4(b)(iii), that the government disagrees with: “restrict[ion]” of

“expression because of its message, its ideas, its subject matter, or its content.’” Reed v.

Town of Gilbert, 576 U.S. 155, 163 (2015). And the most “blatant” and “egregious form

of content discrimination” is viewpoint discrimination. Id. at 168-69. The Certification

and Enforcement Threat Provisions squarely, unconstitutionally, “abridge[] the freedom

of speech.” U.S. Const. amend. I.

       A “President’s duties are of ‘unrivaled gravity and breadth.’” Trump v. United

States, 603 U.S. 593, 607 (2024) (quoting Trump v. Vance, 591 U.S. 786, 800 (2020)).

And the Constitution “vest[s] the President with ‘supervisory and policy responsibilities

of utmost discretion and sensitivity.’” Id. (quoting Nixon v. Fitzgerald, 457 U.S. 731, 750

(1982)). But “a President does not ‘stand exempt from the general provisions of the

constitution.’” Id. at 612 (quoting United States v. Burr, 25 F. Cas. 30, 34 (No. 14,692d)

(C.C.D. Va. 1807)). The preliminary injunction factors weigh in favor of issuing a

preliminary injunction against the Termination Provision, the Certification Provision,

and part of the Enforcement Threat Provision.




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I.     BACKGROUND

       A.     The Challenged Executive Orders

       As noted above, President Trump issued the two executive orders at issue on

January 20 and 21, 2025. See J20 Order; J21 Order. The J20 Order focuses on activities

and programs within the federal government, including “Equity Action Plans” that were

required of executive agencies during President Biden’s administration. See J20 Order

§§ 1-2 (citing Exec. Order No. 13,985, 86 Fed. Reg. 7009 (Jan. 25, 2021)). The J21 Order

focuses on “ending illegal preferences and discrimination,” both within the federal

government and in the private sector. J21 Order §§ 1-4.

       Plaintiffs do not contend that the two Challenged Orders are unconstitutional in

their entirety; Plaintiffs challenge one specific provision of the J20 Order and two

specific provisions of the J21 Order, detailed below. Other aspects of the Challenged

Orders, such as a direction to assess the operational impact and cost of President

Biden’s DEI, DEIA, and “environmental justice” programs and policies, J20 Order §

2(b)(iii), and ordering the Director of the Office of Management and Budget (OMB) to

“[e]xcise references to DEI and DEIA principles” from federal acquisition and

contracting procedures, J21 Order § 3(c)(ii), are not at issue here. Each order also

contains a severability clause, stating that if any provision of the order is held to be

invalid, “the remainder of this order . . . shall not be effected.” J20 Order § 3; J21 Order

§ 6.

              1.     Termination Provision

       The first provision that Plaintiffs challenge is Section 2(b)(i) of the J20 Order, the

Termination Provision. That provision provides, in pertinent part, as follows:




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              Each agency, department, or commission head, in
              consultation with the Attorney General, the Director of OMB,
              and the Director of OPM, as appropriate, shall take the
              following actions within sixty days of this order: (i) terminate,
              to the maximum extent allowed by law, all . . . “equity-related”
              grants or contracts.

J20 Order § 2(b)(i). That provision is in the context of Section 2 of the J20 Order, which

directs the OMB director, “assisted by the Attorney General and the Director of the

Office of Personnel Management,” to “coordinate the termination of all discriminatory

programs, including illegal DEI and ‘diversity, equity, inclusion, and accessibility’

(DEIA) mandates, policies, programs, preferences, and activities in the Federal

Government, under whatever name they appear.” J20 Order § 2(a).

       Plaintiffs bring two discrete claims against the Termination Provision. First,

Plaintiffs contend the provision violates the Spending Clause of the United States

Constitution. ECF No. 1 ¶¶ 154-62 (“Count One”) (citing U.S. Const. art. I, §§ 1, 8). They

assert that neither the President nor executive branch officials have authority under the

Constitution to unilaterally terminate “‘equity-related’ grants and contracts,” absent

express statutory authority. Id. ¶ 159. Second, Plaintiffs argue that the provision is

unconstitutionally vague in violation of the Fifth Amendment’s Due Process Clause. Id.

¶¶ 163-70 (“Count Two”). Plaintiffs further note that key terms—including “DEI,”

“DEIA,” “equity,” and “equity-related”—are undefined in the order. Id. ¶ 167. As a result,

Plaintiffs contend, they are “left to guess” not only “whether their federal grants or

contracts will be terminated,” but also how to conform their policies, programs, and

speech to the vague, undefined, and unspecified directive that “equity-related” grants

will be terminated. Id. ¶¶ 168.




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             2.        Certification Provision

      The next provision Plaintiffs challenge is Section 3(b)(iv) of the J21 Order, the

Certification Provision. That provision provides as follows:

             (iv) The head of each agency shall include in every contract or
             grant award:

                    (A) A term requiring the contractual counterparty or grant
                    recipient to agree that its compliance in all respects with
                    all applicable Federal anti-discrimination laws is material
                    to the government’s payment decisions for purposes of
                    section 3729(b)(4) of title 31, United States Code; and

                    (B) A term requiring such counterparty or recipient to
                    certify that it does not operate any programs promoting
                    DEI that violate any applicable Federal anti-
                    discrimination laws.

J21 Order § 3(b).

      The reference to 31 U.S.C. § 3729(b)(4) refers to the False Claims Act. Under the

False Claims Act, a person who, for example, “knowingly makes, uses, or causes to be

made or used, a false record or statement material to an obligation to pay or transmit

money or property to the Government” is “liable to the United States Government for a

civil penalty . . . plus 3 times the amount of damages which the Government sustains

because of the act of that person.” 31 U.S.C. § 3729(a)(1)(G). That means the

Certification Provision is attempting to use the False Claims Act to enforce the

government’s notion of what it means to “promot[e] DEI” in a way that “violate[s] any

applicable Federal anti-discrimination laws.”

      Plaintiffs bring two distinct claims against the Certification Provision.

      First, Plaintiffs allege the Certification Provision violates the Free Speech Clause

of the First Amendment. ECF No. 1 ¶¶ 193-201 (“Count Five”). They argue the provision



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“impermissibly restricts Plaintiffs[’] constitutionally protected speech based on its

content and viewpoint.” Id. ¶ 195. They also claim that the provision fails to define the

terms including “programs promoting DEI” and fails to explain “why such programs

might violate anti-discrimination laws.” Id. Specifically, they argue that “Plaintiffs are

chilled from expressing or participating in anything that might draw the ire of the

President or his administration when it comes to DEI” and that “[t]hrough this

provision, President Trump brandishes the threat of [False Claims Act] enforcement to

quiet federal contractors’ and grantees’ dissenting views.” Id. ¶¶ 197, 199.

       Second, Plaintiffs contend the Certification Provision violates separation of

powers principles. Id. ¶¶ 202-10 (“Count Six”). Plaintiffs contend the executive branch

has “no authority to dictate government spending or place conditions on the spending

power that is vested in the legislative branch.” Id. ¶ 204. Plaintiffs contend Congress

cannot delegate its power under the Spending Clause and, in any event, did not

“delegate any spending power to the President with respect to the particular federal

programs and funds at issue here.” Id. ¶ 209.

              3.     Enforcement Threat Provision

       The third and final provision Plaintiffs challenge is Section 4(b)(iii) of the J21

Order, the Enforcement Threat Provision. That provision directs the Attorney General

as follows:

              (b) To further inform and advise me so that my
              Administration may formulate appropriate and effective civil-
              rights policy, the Attorney General, within 120 days of this
              order, in consultation with the heads of relevant agencies and
              in coordination with the Director of OMB, shall submit a
              report to the Assistant to the President for Domestic Policy
              containing recommendations for enforcing Federal civil-
              rights laws and taking other appropriate measures to


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              encourage the private sector to end illegal discrimination and
              preferences, including DEI. The report shall contain a
              proposed strategic enforcement plan identifying

                  ...

                  (iii) A plan of specific steps or measures to deter DEI
                  programs or principles (whether specifically denominated
                  “DEI” or otherwise) that constitute illegal discrimination
                  or preferences. As a part of this plan, each agency shall
                  identify up to nine potential civil compliance
                  investigations of publicly traded corporations, large non-
                  profit corporations or associations, foundations with
                  assets of 500 million dollars or more, State and local bar
                  and medical associations, and institutions of higher
                  education with endowments over 1 billion dollars[.]

J21 Order § 4. That provision is followed by a directive that the Attorney General’s

“proposed strategic enforcement plan” also identify “[o]ther strategies to encourage the

private sector to end illegal DEI discrimination and preferences and comply with all

Federal civil-rights laws.” Id. § 4(b)(iv).

       Plaintiffs the National Association of Diversity Officers in Higher Education

(“NADOHE”) and the American Association of University Professors (“AAUP”) bring

two claims against the Enforcement Threat Provision. First, Plaintiffs allege the

Enforcement Threat Provision is unconstitutionally vague. ECF No. 1 ¶¶ 171-82 (“Count

Three”). That claim is based on the alleged inherent vagueness of terms such as “illegal

DEI discrimination and preferences,” J21 Order § 4(b)(iv), or “[p]romoting ‘diversity,’”

id. § 3(b)(ii), or “illegal DEI and DEIA policies,” id. § 1, or what types of “DEI programs

or principles” the new administration considers “illegal” and is seeking to “deter,” id. §

4(b)(iii).




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       And second, Plaintiffs allege the Enforcement Threat Provision violates the Free

Speech Clause of the First Amendment. ECF No. 1 ¶¶ 183-92 (“Count Four”). They

contend the threat of “civil compliance investigations,” J21 Order, § 4(b)(iii),

“impermissibly restricts the exercise of NADOHE’s and AAUP’s constitutionally

protected speech based on its content and viewpoint.” ECF No. 1 ¶ 185. Plaintiffs note

that the provision specifically states that it seeks to “deter DEI programs or principles

(whether specifically denominated ‘DEI’ or otherwise)” and that the threat of private

sector enforcement actions in furtherance of that deterrence constitutes content- and

viewpoint-discriminatory restriction of speech, including that of some of NADOHE’s

institutional members. Id. ¶¶ 185-86.

              4.     Implementation of the J20 and J21 Executive Orders

       Since the issuance of the Orders, several steps have been taken by the executive

branch to implement, among other portions of the Orders, the Challenged Provisions.

       On January 22, 2025, a day after the J21 Order was issued, the White House

released a fact sheet titled “President Donald J. Trump Protects Civil Rights and Merit-

Based Opportunity by Ending Illegal DEI.” ECF No. 27-19 at 3. 3 The fact sheet calls the

J21 Order “the most important federal civil rights measure in decades,” and states that

the J21 Order “expands individual opportunity by terminating radical DEI preferencing

in federal contracting and directing federal agencies to relentlessly combat private

sector discrimination.” Id. It describes the J21 Order as terminating DEI discrimination

“in federal contracting and spending.” Id. The fact sheet describes the Certification


3 For clarity and consistency, the Court has cited to the ECF document numbers and

pagination. Thus, when the ECF pagination and the parties’ pagination differ, the
Court’s citation is to the ECF page number.


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Provision to “require[] simple and unmistakable affirmation that contractors will not

engage in illegal discrimination, including illegal DEI,” and the Enforcement Threat

Provision to “direct[] all departments and agencies to take strong action to end private

sector DEI discrimination, including civil compliance investigations.” Id. The fact sheet

ends by reiterating the goal of a “colorblind and competence-based workplace,” and

blaming DEI for “intergroup hostility and authoritarianism” as well as for amplifying

“prejudicial hostility” and exacerbating “interpersonal conflict.” Id. at 4.

       Also on January 22, 2025, the Department of Labor (“DOL”) distributed a

memorandum directing grantees to “cease all award activities related to [DEI or DEIA]

under their federal awards.” ECF No. 27-11 at 3; accord ECF No. 27-10 at 2. On January

28, 2025, Under Secretary of Defense Steven J. Morani issued a memorandum to the

Department of Defense, instructing contracting officers to “cancel or amend solicitations

and terminate or partially terminate existing contracts . . . and contract-like instruments

. . . that contain diversity, equity, and inclusion (DEI) and diversity, equity, inclusion,

and accessibility (DEIA) requirements.” ECF No. 27-15 at 2.

       On January 29, 2025, the Centers for Disease Control and Prevention (“CDC”)

sent a letter to grant recipients that states that grantees “must immediately terminate, to

the maximum extent, all programs, personnel, activities, or contracts promoting

‘diversity, equity, and inclusion’ (DEI) at every level and activity, regardless of [their]

location or the citizenship of employees or contractors, that are supported with funds

from this award.” ECF No. 27-13 at 2. The letter goes on to say that “[a]ny vestige,

remnant, or re-named piece of any DEI programs funded by the U.S. government under

this award are immediately, completely, and permanently terminated.” Id.




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       On February 5, 2025, Attorney General Pamela Bondi issued a memorandum for

all Department of Justice (“DOJ”) employees with the subject line “ELIMINATING

INTERNAL DISCRIMINATORY PRACTICES.” ECF No. 27-14 at 2. The memorandum

states, in relevant part, that pursuant to the directives in the J21 Order, each component

of DOJ must submit a report to the Office of the Attorney General by March 15, 2025:

“[c]onfirming the termination, to the maximum extent allowed by law, of . . . all ‘equity-

related’ grants or contracts”; “[i]dentifying federal contractors . . . and grantees who

have provided DEI training or DEI training materials to agency or department

employees since January 20, 2021”; and “[i]dentifying federal grantees who received

federal funding to provide or advance DEI, DEIA, or ‘environmental justice’ programs,

services, or activities since January 20, 2021.” Id. at 3. In preparing these reports, the

memorandum advises that DOJ components “shall pay particular attention to ending

references to DEI or DEIA in . . . training and programs, including references to

‘unconscious bias,’ ‘cultural sensitivity,’ [and] ‘inclusive leadership.’” Id. at 3-4.

       Also on February 5, 2025, the Attorney General issued a separate memorandum

to all DOJ employees with the subject line “ENDING ILLEGAL DEI AND DEIA

DISCRIMINATION AND PREFERENCES.” ECF No. 27-21 at 2. The memorandum

states, in relevant part, that pursuant to the directives in the J21 Order, the DOJ Civil

Rights Division “will investigate, eliminate, and penalize illegal DEI and DEIA

preferences, mandates, policies, programs, and activities in the private sector and in

educational institutions that receive federal funds.” Id. The memorandum requires the

Civil Rights Division and the Office of Legal Policy to jointly submit a report to the

Associate Attorney General by March 1, 2025 with “recommendations for enforcing

federal civil-rights laws and taking other appropriate measures to encourage the private


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sector to end illegal discrimination and preferences, including policies related to DEI

and DEIA.” Id. The memorandum states that the joint report should address, among

other things, a “plan including specific steps to deter the use of DEI and DEIA programs

or principles that constitute illegal discrimination or preferences,” as well as “[o]ther

strategies to end illegal DEI and DEIA discrimination and preferences and to comply

with all federal civil-rights laws.” Id. at 3.

       On February 7, 2025, a Bluesky post stated that a “non-government business that

contracts with the federal government” received a notice demanding that the contractor

certify that it “does not operate any programs promoting Diversity, Equity, and

Inclusion that violate any applicable Federal anti-discrimination laws.” ECF No. 27-20

at 2. On February 10, 2025, according to an announcement from the so-called

Department of Government Efficiency, the Department of Education terminated “29

training grants for diversity, equity and inclusion that total $101 million.” ECF No. 27-17

at 3. One of the canceled grants was using funding to train teachers to “help students

understand / interrogate the complex histories involved in oppression, and help

students recognize areas of privilege and power on an individual and collective basis.”

Id.

       Also on February 7, 2025, the Occupational Safety and Health Administration

(“OSHA”) removed a list of publications from its website, including publications such as

“A Road Map for Healthcare Facilities (Workplace Violence),” “Improve Tracking of

Workplace Injuries and Illnesses Fact Sheet,” “Guidelines for Nursing Homes:

Ergonomics for the Prevention of Musculoskeletal Disorders,” and “OSHA Best

Practices for Hospital-Based First Receivers.” ECF No. 39-14 at 2. OSHA further advised




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its staff that “[i]f [they] have wallet cards that include language, or can be interpreted

[sic], on DEIA or gender ideology, please dispose of them as well.” Id.

       On February 11, 2025, Brendan Carr, Chairman of the Federal Communications

Commission (“FCC”), sent a letter to the CEO of Comcast Corporation regarding

“Comcast and NBCUniversal’s Promotion of DEI.” ECF No. 39-7 at 1. Carr wrote in the

letter that he was “concerned that Comcast and NBCUniversal may be promoting

invidious forms of DEI in a manner that does not comply with FCC regulations.” Id. As

examples, Carr pointed to Comcast stating on its website that promoting DEI is “a core

value of [their] business,” as well as having a “DEI infrastructure.” Id. Carr noted that

“[d]espite the emergence of DEI initiatives in recent years, these forms of discrimination

have long been condemned by America’s civil rights laws.” Id. Carr broadly stated that

the FCC’s goal is to “ensure that every entity the FCC regulates complies with the civil

rights protections enshrined in the Communications Act and the agency’s EEO rules,

including by shutting down any programs that promote invidious forms of DEI

discrimination.” Id. at 2.

       Around February 12, 2025, the National Endowment for the Arts (“NEA”)

released new rules requiring grant applicants to agree not to “operate any programs

promoting ‘diversity, equity, and inclusion’ (DEI) that violate any applicable Federal

anti-discrimination laws, in accordance with [the J21 Order].” ECF No. 39-8 at 11. The

rules go on to state that “[t]he United States has the right to seek judicial or

administrative enforcement of this assurance.” Id. at 12.

       B.     Plaintiffs

       This action has been brought by four plaintiffs that contend their rights are

violated by various aspects of the Orders: NADOHE, AAUP, Restaurant Opportunities


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Centers United (“ROC United”), and the Mayor and City Council of Baltimore, Maryland

(“Baltimore”).

       NADOHE is an “association for chief diversity officers and professionals with

over 2,200 members,” including “diversity, equity, inclusion, and accessibility

professionals who work at institutions of higher education, as well as institutions of

higher education themselves.” ECF No. 1 ¶ 18. Many of NADOHE’s members receive

grants and contracts from the federal government; some offer education programs and

degrees “in diversity, equity, and inclusion leadership and similar subject matters”; and

some of NADOHE’s members are institutions of higher education that have

endowments exceeding $1 billion (a threshold invoked in the Enforcement Threat

Provision). Id.

       AAUP “is a membership association and labor union of faculty and academic

professionals.” Id. ¶ 19. “Many AAUP members are employees of institutions of higher

learning” and “AAUP is committed to advancing academic freedom and shared

governance, defining fundamental professional values and standards for higher

education, promoting the economic security of academic workers, and ensuring higher

education’s contribution to the common good.” Id.

       ROC United “is a national membership organization of thousands of restaurant

workers across the United States.” Id. ¶ 20. The mission of ROC United, which receives

grants from the federal government, “is to improve restaurant workers’ lives by building

worker power and uniting workers of various backgrounds around shared goals and

values, including racial and gender equity.” Id.

       Baltimore “is a municipal corporation” organized under the Maryland

Constitution and “the largest city in Maryland and the thirtieth largest city in the United


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States.” Id. ¶ 21. As explained below, Baltimore “is both a contractor and grantee of the

federal government.” Id. ¶ 128.

       C.     Procedural History

       On February 3, 2025, Plaintiffs filed this lawsuit against President Trump, the

Attorney General, and various other agencies and agency heads, sued in their official

capacities. ECF No. 1 ¶¶ 22-44. Plaintiffs claim that certain provisions in the Orders

violate the Spending Clause of Article I of the U.S. Constitution, id. ¶¶ 154-62, the Fifth

Amendment, id. ¶¶ 163-82, the First Amendment, id. ¶¶ 183-201, and separation of

powers, id. ¶¶ 202-10. Plaintiffs seek declaratory and injunctive relief. Id. at 41-42.

Specifically, Counts One and Two allege that the Termination Provision in the J20

Order violates the Spending Clause and the Fifth Amendment. Id. ¶¶ 154-70. Counts

Three and Four allege that the Enforcement Threat Provision of the J21 Order violates

the Fifth Amendment and the First Amendment. Id. ¶¶ 171-92. And Counts Five and Six

allege that the Certification Provision of the J21 Order violates the First Amendment

and the separation of powers. Id. ¶¶ 193-210.

       On February 13, 2025, Plaintiffs filed a motion for a temporary restraining order

and/or preliminary injunction. ECF No. 27. The government opposed the motion. ECF

No. 35. Plaintiffs filed a reply. ECF No. 39. The Court held a hearing on Plaintiffs’

motion on February 19, 2025.

II.    PRELIMINARY INJUNCTION STANDARD

       To obtain a preliminary injunction, Plaintiffs must establish four factors: (1) that

they are likely to succeed on the merits; (2) that they are likely to suffer irreparable

harm absent relief; (3) that the balance of equities favors them; and (4) that an

injunction is in the public interest. Frazier v. Prince George’s Cnty., 86 F.4th 537, 543


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(4th Cir. 2023) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). The

balance of equities and the public interest factors “merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Plaintiffs must demonstrate

all four factors to obtain relief. Real Truth About Obama, Inc. v. FEC, 575 F.3d 342, 347

(4th Cir. 2009), vacated on other grounds, 559 U.S. 1089 (2010). And a preliminary

injunction, being an “extraordinary remedy,” may “only be awarded upon a clear

showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22 (citing

Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)).

III.   LIKELIHOOD OF SUCCESS ON THE MERITS

       A.     Standing/Ripeness

              1.      Standing

       Before addressing Plaintiffs’ allegations, the Court must determine whether

Plaintiffs have shown sufficient likelihood that they have standing under Article III of

the Constitution to bring this action, that is, that Plaintiffs have “a ‘personal stake’ in the

dispute.” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 379 (2024)

(quoting TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021)).

                      a)     Legal standards

       “[T]he doctrine of standing identifies disputes appropriate for judicial

resolution.” Cooksey v. Futrell, 721 F.3d 226, 234 (4th Cir. 2013) (quoting Miller v.

Brown, 462 F.3d 312, 316 (4th Cir. 2006)). A plaintiff establishes standing to bring a

case by establishing three elements:

              First, the plaintiff must have suffered an injury in fact that is
              both concrete and particularized and actual or imminent, not
              conjectural or hypothetical. Second, the plaintiff’s injury must
              be fairly traceable to the challenged action of the defendant,
              meaning that there must be a causal connection between the


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              injury and the conduct complained of. Third, it must be likely,
              as opposed to merely speculative, that the injury will be
              redressed by a favorable decision.
Dep’t of Educ. v. Brown, 600 U.S. 551, 561 (2023) (cleaned up, quoting Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560-61 (1992)). “The second and third standing requirements—

causation and redressability—are often ‘flip sides of the same coin’” in that “[i]f a

defendant’s action causes an injury, enjoining the action or awarding damages for the

action will typically redress that injury.” Food & Drug Admin., 602 U.S. at 380-81

(quoting Sprint Commc’ns Co. v. APCC Servs., Inc., 554 U.S. 269, 288 (2008)). Thus,

“the two key questions in most standing disputes are injury in fact and causation.” Id. at

381. The Supreme Court has also stated that standing is “usually easy to establish”

where “Government regulations . . . require or forbid some action by the plaintiff”

because plaintiffs in such circumstances “almost invariably satisfy both the injury in fact

and causation requirements.” Id. at 382.

       When plaintiffs “seek declaratory and injunctive relief, they must establish an

ongoing or future injury in fact.” Kenny v. Wilson, 885 F.3d 280, 287 (4th Cir. 2018)

(citing O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974)). When plaintiffs allege fear of

future injury, they can show “a sufficiently imminent injury in fact if plaintiffs allege ‘an

intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute, and there exists a credible threat of prosecution

thereunder.’” Id. at 288 (quoting Babbitt v. United Farm Workers Nat’l Union, 442 U.S.

289, 298 (1979)). A credible threat of future enforcement exists “so long as the threat is

not ‘imaginary or wholly speculative,’ ‘chimerical,’ or ‘wholly conjectural.’” Id. (internal

citations omitted) (quoting Babbitt, 442 U.S. at 302; Steffel v. Thompson, 415 U.S. 452,

459 (1974); and Golden v. Zwickler, 394 U.S. 103, 109 (1969)).


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       For First Amendment claims, however, standing requirements “are somewhat

relaxed.” Cooksey, 721 F.3d at 235.

              Even where a First Amendment challenge could be brought by
              one actually engaged in protected activity, there is a possibility
              that, rather than risk punishment for his conduct in
              challenging the statute, he will refrain from engaging further
              in the protected activity. Society as a whole then would be the
              loser. Thus, when there is a danger of chilling free speech, the
              concern that constitutional adjudication be avoided whenever
              possible may be outweighed by society’s interest in having the
              statute challenged.

Id. (quoting Sec’y of State of Md. v. Joseph H. Munson Co., Inc., 467 U.S. 947, 956,

(1984)). “The leniency of First Amendment standing manifests itself most commonly in

the doctrine’s first element: injury-in-fact,” which is “commonly satisfied by a sufficient

showing of ‘self-censorship, which occurs when a claimant is chilled from exercising

h[is] right to free expression.’” Id. (alteration in original) (quoting Benham v. City of

Charlotte, 635 F.3d 129, 135 (4th Cir. 2011)). Thus, “to demonstrate injury in fact, it is

sufficient to show that one’s First Amendment activities have been chilled” as long as the

chilling effect is objectively reasonable and not subjective or speculative. Id. (quoting

Benham, 635 F.3d at 135).

       When an organization is alleging harm, it may establish standing based on its

own injury or based on its members’ injuries, the latter of which is called

representational or associational standing. Students for Fair Admissions, Inc. v.

President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023). To establish

representational standing, “an organization must demonstrate that ‘(a) its members

would otherwise have standing to sue in their own right; (b) the interests it seeks to

protect are germane to the organization’s purpose; and (c) neither the claim asserted



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nor the relief requested requires the participation of individual members in the

lawsuit.’” Id. (quoting Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343

(1977)). An organization need only “make specific allegations establishing that at least

one identified member had suffered or would suffer harm.” S. Walk at Broadlands

Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir.

2013) (emphasis omitted) (quoting Summers v. Earth Island Inst., 555 U.S. 488, 498

(2009)).

                     b)     Defendants’ arguments as to standing

       In discussing standing, Defendants raise their arguments generally rather than

through the lens of each of the three Challenged Provisions.

       First, contrary to Defendants’ argument, Plaintiffs have adequately identified,

albeit anonymously, specific affected members who would individually have standing.

This argument goes to whether NADOHE and AAUP have representational standing.

Defendants do not suggest that such a means of identification is improper, and instead

argue that “without knowing the . . . specific features of the grants or contracts at issue

. . . Defendants and the Court cannot evaluate whether such contracts or grants have

features allowing them to be terminated consistent with the law.” ECF No. 35 at 10 n.1.

For the reasons stated below, the Court disagrees, as much of the analysis revolves

around Plaintiffs’ reasonable fears and chilling of speech, rather than the specifics of the

grants. Defendants do not challenge the other two prongs of the representational

standing test. 4


4 NADOHE has also adequately shown standing on its own behalf because the

government action at issue “directly affected and interfered with [its] core business
activities.” Food & Drug Admin., 602 U.S. at 395; see also ECF No. 27-23 ¶¶ 9, 26, 39-



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       Second, Defendants contend that ROC and Baltimore fail to identify an injury-in-

fact because they do not identify imminent disruption to any particular contract and

instead merely speculate that they may see reductions based on future agency actions.

ECF No. 35 at 11. As discussed below, these Plaintiffs have alleged sufficient actual or

imminent injury for standing purposes for all relevant provisions.

       Third, Defendants argue that Plaintiffs have failed to allege injury that is “fairly

traceable to the challenged action.” Brown, 600 U.S. at 561 (quoting Lujan, 504 U.S. at

560). Defendants assert that the Orders did not terminate any particular grant or

program, but merely provided policy directives to federal agencies. They claim that

“[a]ny alleged future harm necessarily depends on future action by federal agencies that

plaintiffs have not adequately alleged has occurred and impacted them.” ECF No. 35 at

11 (citing Louisiana v. Biden, 64 F.4th 674, 681 (5th Cir. 2023) and Jacobson v. Fla.

Sec’y of State, 974 F.3d 1236, 1254 (11th Cir. 2020)). Below, the Court will discuss how

each Plaintiff has adequately shown cognizable injuries-in-fact that are traceable to the

three Challenged Provisions.

                     c)     The Termination Provision

       Each Plaintiff has shown at least one adequately imminent and concrete injury-

in-fact in connection with the Termination Provision. As stated above, that provision

instructs “[e]ach agency, department, or commission head, in consultation with the

Attorney General, the Director of OMB, and the Director of OPM” to “terminate, to the




42, 44-46, ECF No. 39-3 ¶ 8 (discussing the threats to NADOHE’s core missions and its
continued existence). But given the representational standing, the Court need not
further address NADOHE’s individual standing.


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maximum extent allowed by law, . . . all . . . ‘equity-related’ grants or contracts” within

60 days. J20 Order § 2(b)(i).

       NADOHE asserts that Individual Member A, “who provides services to a

university as a consultant, has had contracts terminated by the university client because

the J20 Order threatens the termination of the grant funding from the National Science

Foundation [“NSF”] that funded Individual Member A’s contract.” ECF No. 27-23 ¶ 33.

NADOHE further alleges that this same member has “lost her salary and any

discretionary funds when all of her contracts ‘c[a]me to an abrupt halt and contracting

for future work . . . evaporated.’” ECF No. 39-3 ¶ 6 (alteration in original). NADOHE

also alleges that Institutional Member A, “in light of the J20 Order, cancelled a

conference on alternate models of education at [Historically Black Colleges and

Universities] because the program was funded in part by a grant from the Department

of Labor” and that panel participants “had been barred from participation by their own

organizations on account of the J20 Order.” ECF No. 27-23 ¶ 22.

       AAUP has a member who is a professor at a Virginia university with an NSF grant

regarding “Gender Equity in STEM [Science, Technology, Engineering and

Mathematics] Academic Professions” “to research potential disparities affecting women

in science.” ECF No. 39-2 ¶ 4. After requesting travel accommodations to a conference

as a part of their grant work, “the professor received an email on February 6, 2025, from

their Program Officer with NSF notifying them that the NSF employee ‘cannot make the

determination’ regarding the travel until it is determined that ‘the activity is aligned

with the administration’s executive orders.’” Id. Another AAUP member who is a

professor at the University of Texas at Austin stated that “on January 29, 2025, the

university’s Office of Sponsored Projects received an e-mail ‘stop work order’” regarding


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a National Academy of Sciences (“NAS”) subaward. Id. ¶ 6. The member’s project at

issue was “focused on equity of access to crucial services and goods.” Id. The email

provided that NAS “is hereby issuing University of Texas at Austin this notice of

Termination for Convenience effective as of the date of this letter for all work associated

with the above referenced Subaward” because “NAS has determined to take certain

actions with respect to federally funded contracts following the issuance of the” J20 and

J21 Orders. Id. A third AAUP member is a professor at the University of Connecticut

and “works on a project to broaden diversity” in the STEM workforce that is funded by

NSF. Id. ¶ 7. “On January 31, 2025, this member received an email from the Principal

Investigator—the faculty member in charge—of that project ‘to pause project activities

until we receive further guidance from NSF . . . .’” Id.

       On January 22, 2025, ROC United “received e-mail notices from DOL’s Women’s

Bureau and OSHA to ‘cease all activities related to “diversity, equity, and inclusion”

(DEI) or “diversity, equity, inclusion, and accessibility” (DEIA) under their federal

awards, consistent with the requirements of . . .’ the J20 Order and a related anti-DEIA

order signed by President Trump on January 21, 2025.” ECF No. 27-25 ¶ 26. “In

addition, OSHA instructed ROC United to: ‘effective immediately! Cease collecting and

reporting trainees DEI information,’” id. ¶ 29, which caused ROC United to stop work

on projects funded by two federal grants. Id. ¶¶ 30-31.

       Baltimore received a January 29, 2025 letter from the U.S. Department of Health

and Human Services that demanded that Baltimore “immediately terminate” all

activities “promoting ‘diversity, equity, and inclusion’” “that are supported with funds

from [a CDC] award” in light of the Orders. ECF No. 27-13 at 2. Baltimore also received

an email on February 14, 2025 “from AmeriCorps informing [it] that three of [its]


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AmeriCorps grants had been flagged for review” because they contained words like

“Diversity,” “Equity,” “Equity Action Plan,” and “DEI” as well as “Environmental

Justice” and “Climate Change.” ECF No. 39-4 ¶¶ 4-8. The email asserted that by

February 19, 2025, Baltimore must either “(1) Certify that the awards, using proscribed

language, ‘compl[y] with all administration Executive Orders and do[] not include any

activities that promote DEI activities’; (2) Stop providing noncompliant services . . . ; or

(3) Forgo this AmeriCorps funding altogether.” Id. ¶ 11.

       These are all concrete actual injuries suffered by Plaintiffs and their members.

Moreover, the injuries are directly traceable to the Orders. It is also likely that Plaintiffs’

injuries will be redressed by a favorable decision. Therefore, all four Plaintiffs have

standing to challenge the Termination Clause.

                      d)     The Certification and Enforcement Threat
                             Provisions

       The Court will address the Certification and Enforcement Threat Provisions

together as they both implicate First Amendment concerns and are therefore subject to

the more lenient standing standard under which each Plaintiff must merely “show that

one’s First Amendment activities have been” objectively and reasonably chilled.

Cooksey, 721 F.3d at 235 (quoting Benham, 635 F.3d at 135).

       All four Plaintiffs have met the lower bar to establish injury-in-fact for the

Certification Provision, as have NADOHE and AAUP regarding the Enforcement Threat

Provision (as they are the only Plaintiffs challenging that provision, see ECF No. 1 ¶¶

172, 184).

       NADOHE asserts that its Institutional Members B through G have been forced to

stop certain “curricular programs or requirements” because they fear “adverse



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consequences from federal agencies” in light of the Certification Provision. ECF No. 27-

23 ¶ 29. Similarly, Institutional Member H of NADOHE fears the dictates of the

Enforcement Threat Provision because it is an institution of higher education with an

endowment over $1 billion and is concerned that its protected speech will be penalized

and fears it “may be targeted for investigation but lack[s] clarity about how to avoid the

financial, reputational, and organizational costs of such an investigation.” Id. ¶ 31.

       Likewise, AAUP and its members fear that their activities, including appointing

standing committees such as “the Committee on Historically Black Institutions and

Scholars of Color” and “the Committee on Gender and Sexuality in the Academic

Profession,” run afoul of the directives in the Executive Orders. ECF No. 27-24 ¶ 28.

AAUP’s members also “fear they may have to limit how they choose to participate in

DEIA programs in order to meet the certification requirements and to avoid facing

penalties under the FCA [False Claims Act] or be unable to sign the certification

requirement and lose their funding altogether.” Id. ¶ 31. AAUP further asserts that

several members “work at institutions of higher education with endowments exceeding 1

billion dollars” “whose teaching or research focuses on topics related to diversity or

equity” and who “fear that their work . . . might endanger their own institutions and lead

to adverse employment consequences” under the Enforcement Threat Provision. Id. ¶

40.

       As stated above, Baltimore received emails on February 14, 2025 from

AmeriCorps providing that Baltimore was required to certify by February 19, 2025

either that three grants complied with the Orders, to stop providing noncompliant

services and initiate an amendment to the award, or to forgo funding. ECF No. 39-4 ¶¶

4-8, 11; ECF No. 39-10 at 2. Baltimore asserts that it “fears it may have to abandon its


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lawful efforts and speech related to diversity, equity, inclusion, and accessibility, or else

lose federal funds that support the City’s valuable programs.” ECF No. 27-26 ¶ 35; see

also id. ¶¶ 37-42 (listing specific activities Baltimore fears fall under the Orders).

       ROC United asserts that it “ha[s] no way of doing [its] work and living out [its]

mission without speaking about ending occupational segregation and building career

ladders for workers who have historically been denied opportunities,” and “fear [it] may

have to stop addressing racial and gender equity to avoid financial and other penalties

by the federal government. Or if [it] decline[s] to certify, [it] risk[s] losing all federal

funding.” ECF No. 27-25 ¶¶ 38, 40.

       Plaintiffs have adequately shown that they are injured by these provisions

because they reasonably expect that they will be forced to either restrict their legal

activities and expression that are arguably related to DEI, or forgo federal funding

altogether.

       The causation and redressability requirements are also met. In all cases, these

objectively reasonable fears arise from the vague language in the Orders, and can be

redressed by a favorable decision. See Food & Drug Admin., 602 U.S. at 382 (providing

that “standing is usually easy to establish” where “Government regulations . . . require or

forbid some action by the plaintiff” because the plaintiffs in such circumstances “almost

invariably satisfy both the injury in fact and causation requirements”). Enjoining

Defendants from imposing the Certification and Enforcement Threat Provisions will

prevent the chilling effects that flow from those provisions.

              2.      Ripeness

       Like standing, as a threshold matter, Plaintiffs must also establish that their

claims are ripe. Wild Va. v. Council on Envtl. Quality, 56 F.4th 281, 293 (4th Cir. 2022).


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“While standing involves ‘the question . . . of who may sue,’ ripeness involves ‘when they

[may] sue.’” Id. (alterations in original) (quoting South Carolina v. United States, 912

F.3d 720, 730 (4th Cir. 2019)). In reviewing ripeness, courts consider “(1) the fitness of

the issues for judicial decision and (2) the hardship to the parties of withholding court

consideration.” Id. (quoting Deal v. Mercer Cty. Bd. of Educ., 911 F.3d 183, 191 (4th Cir.

2018)). “A claim should be dismissed as unripe if the plaintiff has not yet suffered injury

and any future impact ‘remains wholly speculative’” while “[a] case is fit for judicial

decision when the issues are purely legal and when the action in controversy is final and

not dependent on future uncertainties.” Id. (quoting Doe v. Va. Dep’t of State Police, 713

F.3d 745, 758 (4th Cir. 2013)).

       Defendants argue a lack of ripeness as to all claims generally, rather than in

connection with the First and Fifth Amendment claims separately. Ripeness in

connection with the Fifth Amendment claims is discussed below in section III.C.2. As

with standing, “ripeness requirements are also relaxed in First Amendment cases.”

Cooksey, 721 F.3d at 240. “First Amendment rights . . . are particularly apt to be found

ripe for immediate protection, because of the fear of irretrievable loss. In a wide variety

of settings, courts have found First Amendment claims ripe, often commenting directly

on the special need to protect against any inhibiting chill.” Id. (omission in original)

(quoting New Mexicans for Bill Richardson v. Gonzales, 64 F.3d 1495, 1500 (10th Cir.

1995)). Standing and ripeness are “viewed through the same lens” in this context and

are “inextricably linked.” Id.

       Defendants’ arguments focus on the contention that because Plaintiffs do not

know whether their contracts or grants will be terminated or, if so, on what basis, that




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Plaintiffs’ claims are unripe and purely speculative. Defendants assert that Plaintiffs’

claims

               are contingent upon several layers of future actions that are
               not only hypothetical but also contradictory: Plaintiffs’ claims
               assume that agencies will not only take actions that will
               directly impact Plaintiffs but will do so both in service of the
               [Orders’] directive to deprioritize DEI and in violation of the
               [Orders’] directive to stay within the confines of the law.

ECF No. 35 at 13. However, as discussed above with respect to standing, regarding their

First Amendment claims Plaintiffs have adequately shown that their speech has been

and will continue to be chilled in light of the Challenged Orders based both on actions

currently being taken by Defendants and based on Plaintiffs’ reasonable fears. The First

Amendment claims are fit for judicial decision and Plaintiffs have convinced the Court

that significant hardship would occur without a decision. Thus, Plaintiffs’ First

Amendment Claims are ripe.

         B.    Plaintiff’s Claims and the Relevant Legal Standards

         As explained above, Plaintiffs assert that the Challenged Provisions violate the

First Amendment (free speech), the Fifth Amendment (due process vagueness), and

separation of powers (including the spending clause of the Constitution, art. I, § 1, 8). As

explained below, Plaintiffs have established entitlement to a preliminary injunction on

their First and Fifth Amendment claims. The Court need not and does not reach

whether Plaintiffs have also shown a likelihood of success on the merits on their

separation of powers claims. This section III.B describes the applicable legal standards.

The Court applies these standards to Plaintiffs’ claims in subsequent sections.




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              1.     First Amendment Claims (Counts 4 & 5)

       As noted above, Counts 4 and 5 of Plaintiffs’ complaints arise under the First

Amendment. In Count 4, Plaintiffs allege that by purporting to “deter DEI programs or

principles (whether specifically denominated ‘DEI’ or otherwise),” and threatening to

bring enforcement against perceived violators of the undefined standards, the

Enforcement Threat Provision is a content-based and viewpoint-discriminatory

restriction on protected speech that has the effect of “penaliz[ing] the protected speech

of NADOHE’s institutional members,” ECF No. 1 ¶ 186, and otherwise infringing upon

Plaintiffs’ free-speech rights protected by the First Amendment, id. ¶¶ 189, 191. As for

Count 5, which addresses the Certification Provision, Plaintiffs distill their First

Amendment claim as follows:

              This Certification Provision—contained in an executive order
              characterizing DEIA as “illegal” and “violat[ions of] the text
              and spirit of our longstanding Federal civil-rights laws, id. §
              1—is designed to chill federal contractors’ and grantees’
              speech related to diversity, equity, inclusion, and accessibility.
              Through this provision, President Trump brandishes the
              threat of FCA enforcement to quiet federal contractors’ and
              grantees’ dissenting views.

ECF No. 1 ¶ 197.

       Plaintiffs contend the chilling effect of those executive order provisions is

exacerbated by the vagueness of the orders’ key terms. See, e.g., ECF No. ¶ 198 (“The

President does not define any of the key terms of these prohibitions. It is not clear what

‘so-called “diversity, equity, and inclusion” (DEI)’ means, see J21 Order, § 1; nor does it

provide any guidance on how such programs or initiatives can be considered to ‘violate

the text and spirit of our longstanding Federal civil-rights laws.’ Id.”); id. ¶ 199 (“As a




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result, Plaintiffs are chilled from expressing or participating in anything that might draw

the ire of the President or his administration when it comes to DEI.”).

       For the reasons discussed later in this opinion, the Court concludes that Plaintiffs

have shown a likelihood of success on the merits of Counts 4 and 5. This section

describes the basic legal framework applicable to Plaintiffs’ First Amendment claim. The

Enforcement Threat Provision targets private persons, companies and organizations

unrelated to whether they are government contractors or grantees, and thus the Court

begins with an overview of the framework for claims asserting facial challenges against

content-based and viewpoint-discriminatory restrictions on protected speech. The

Termination Provision and Certification Provision target government contractors and

grantees; the Court addresses the First Amendment standards to those contexts below. 5

                     a)     Content and viewpoint discrimination

       The First Amendment prohibits the enactment of laws “abridging the freedom of

speech.” U.S. Const., amend. I. “The First Amendment generally prevents government

from proscribing speech, . . . or even expressive conduct, . . . because of disapproval of

the ideas expressed.” R.A.V. v. City of St. Paul, 505 U.S. 377, 382 (1992) (citing

Cantwell v. Connecticut, 310 U.S. 296, 309-311 (1940), and Texas v. Johnson, 491 U.S.

397, 412, 414 (1989)). In other words, “a government . . . ‘has no power to restrict

expression because of its message, its ideas, its subject matter, or its content.’” Reed v.




5 None of the Plaintiffs or their members are government employees, and the relief

Plaintiffs seek does not extend to government employees. Different standards may
pertain to claims brought by government employees. See, e.g., Garcetti v. Ceballos, 547
U.S. 410 (2006).


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Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (quoting Police Dept. of Chicago v.

Mosley, 408 U.S. 92, 95 (1972)).

       “Content-based laws—those that target speech based on its communicative

content—are presumptively unconstitutional and may be justified only if the

government proves that they are narrowly tailored to serve compelling state interests.”

Id. (citing R.A.V., 505 U.S. at 395; Simon & Schuster, Inc. v. Members of N.Y. State

Crime Victims Bd., 502 U.S. 105, 115, 118 (1991)). “Deciding whether a particular

regulation is content based or content neutral is not always a simple task.” Turner

Broadcasting Sys., Inc. v. F.C.C., 512 U.S. 622, 642 (1994). The “principal inquiry in

determining content neutrality . . . is whether the government has adopted a regulation

of speech because of [agreement or] disagreement with the message it conveys.” Ward

v. Rock Against Racism, 491 U.S. 781, 791 (1989). “This commonsense meaning of the

phrase ‘content based’ requires a court to consider whether a regulation of speech ‘on its

face’ draws distinctions based on the message a speaker conveys.” Reed, 576 U.S. at 163

(quoting Sorrell v. IMS Health Inc., 564 U.S. 552, 565-66 (2011)). “Some facial

distinctions based on a message are obvious, defining regulated speech by particular

subject matter, and others are more subtle, defining regulated speech by its function or

purpose. Both are distinctions drawn based on the message a speaker conveys, and,

therefore, are subject to strict scrutiny.” Id. at 163-64. Moreover, “it is well established

that ‘[t]he First Amendment’s hostility to content-based regulation extends not only to

restrictions on particular viewpoints, but also to prohibition of public discussion of an

entire topic.’” Id. at 169 (quoting Consolidated Edison Co. of N.Y. v. Public Serv.

Comm’n of N. Y., 447 U.S. 530, 537 (1980)).




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       Whether a government action is “content based” does not (at least generally) turn

on motivation. “A law that is content based on its face is subject to strict scrutiny

regardless of the government’s benign motive, content-neutral justification, or lack of

‘animus toward the ideas contained’ in the regulated speech.” Id. at 165 (citing

Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 429 (1993)); see also Turner, 512

U.S. at 642 (holding that although “a content-based purpose may be sufficient in certain

circumstances to show that a regulation is content based, it is not necessary”).

       One form of “content-based” speech regulation is “[g]overnment discrimination

among viewpoints.” Reed, 576 U.S. at 168 (quoting Rosenberger v. Rector and Visitors

of Univ. of Va., 515 U.S. 819, 829 (1995)). Viewpoint discrimination means “the

regulation of speech based on ‘the specific motivating ideology or the opinion or

perspective of the speaker.’” Id. (quoting Rosenberger, 515 U.S. at 829). Both content-

based and viewpoint-based regulation are subject to strict scrutiny. Boos v. Barry, 485

U.S. 312, 320 (1988); Rosenberger, 515 U.S. at 829. But the most “blatant” and

“egregious form of content discrimination” is viewpoint discrimination. Reed, 576 U.S.

at 168-69 (quoting Rosenberger, 515 U.S. at 829); see also id. at 174 (Alito, J.,

concurring) (“Content-based laws merit [strict scrutiny] protection because they

present, albeit sometimes in a subtler form, the same dangers as laws that regulate

speech based on viewpoint.”). Similarly, where legislation or executive action regulates

speech depending on the “identity of the speaker,” such “[s]peech restrictions” are

subject to strict scrutiny because they “are all too often simply a means to control

content.” Id. at 170 (quoting Citizens United v. Federal Election Comm’n, 558 U.S. 310,

340 (2010)); see also id. (“‘[L]aws favoring some speakers over others demand strict

scrutiny when the legislature’s speaker preference reflects a content preference”)


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(quoting Turner, 512 U.S. at 658); Rosenberger, 515 U.S. at 829 (“The government must

abstain from regulating speech when the specific motivating ideology or the opinion or

perspective of the speaker is the rationale for the restriction.”).

       Finding a statute “viewpoint discriminatory” is “all but dispositive” in a First

Amendment challenge, at least outside the context of government employees or

contractors (which is discussed below). Sorrell, 564 U.S. at 571. “The State may not

burden the speech of others in order to tilt public debate in a preferred direction.” Id. at

578-79.

       A content-based restriction on speech is subject to strict scrutiny, meaning such

restrictions are “presumptively unconstitutional and may be justified only if the

government proves that [it is] narrowly tailored to serve compelling state interests.”

Reed, 576 U.S. at 163. “[R]egulations that are unrelated to the content of speech are

subject to an intermediate level of scrutiny . . . because in most cases they pose a less

substantial risk of excising certain ideas or viewpoints from the public dialogue.”

Turner, 512 U.S. at 642 (emphasis added).

                     b)      Federal grantees and contractors

       A number of the organizational Plaintiffs’ members are government contractors

and grantees. As discussed above, the Certification Provision applies to

“Federal contractors and subcontractors.” J21 Order, § 3(b)(iii). And although the

Enforcement Threat Provision applies to the entire “private sector,” that includes

government contractors and grantees. Plaintiffs have asserted facial First Amendment

challenges to both the Certification Provision (Count 5) and Enforcement Threat

Provision (Count 4). In addition, with respect to the Termination Provision, although

Plaintiffs have not asserted a standalone First Amendment claim, their Fifth


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Amendment due process claim (Count 2) turns in part on the applicability of the First

Amendment to recipients of “equity-related” grants or contracts. That is because the

applicable void-for-vagueness standard depends in part on whether “a vague statute

abuts upon sensitive areas of basic First Amendment Freedoms.” Grayned v. City of

Rockford, 408 U.S. 104, 109 (1972) (cleaned up); see also, e.g., Holder v. Humanitarian

Law Project, 561 U.S. 1, 19 (2010) (“[W]hen a statute ‘interferes with the right of free

speech or of association, a more stringent vagueness test should apply.”) (quoting

Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499 (1982)); Sessions

v. Dimaya, 584 U.S. 148, 183 (2018) (Gorsuch, J., concurring) (“[A] ‘stringent

vagueness test’ should apply to at least some civil laws—those abridging basic First

Amendment freedoms.”). Thus, the question whether Plaintiffs have shown a likelihood

of success on Count Five—and to some extent Count Four—implicates the law applicable

to whether, and to what extent, the government may lawfully restrict speech by

government contractors and grantees.

       The First Amendment does restrain, in certain ways, the government’s right to

restrict government contractors’ and grantees’ free speech rights. This context sits at the

intersection of several strands of First Amendment doctrine. And thus, as this case

proceeds, the applicability of particular aspects of the doctrine may differ depending on

which particular claims, which subsets of Plaintiffs or their members, and which

Challenged Provisions, are at issue. But at this preliminary stage, when the question

presented is whether Plaintiffs have shown a likelihood that they will succeed on the

merits of their First Amendment claims, the following principles are salient.

       “[W]hen individuals enter into government employment or contracts, they accept

certain restrictions on their freedom as part of the deal.” Fulton v. City of Philadelphia,


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Pennsylvania, 593 U.S. 522, 535 (2021). “The government needs to be free to terminate

both employees and contractors for poor performance, to improve the efficiency,

efficacy, and responsiveness of service to the public, and to prevent the appearance of

corruption.” Board of Cnty. Com’rs, Wabaunsee Cnty., Kan. v. Umbehr, 518 U.S. 668,

674 (1996) (“Wabaunsee County”). “And, absent contractual, statutory, or

constitutional restriction, the government is entitled to terminate them for no reason at

all.” Id. In other words, “the First Amendment does not create property or tenure rights,

and does not guarantee absolute freedom of speech.” Id. at 675.

       But government contractors, and government grantees, retain First Amendment

rights in two important, and relevant, ways.

       First, when the government funds a program or activity, although the

government may “define the limits of the government spending program”—i.e., “specify

the activities Congress wants to subsidize”—the First Amendment prohibits the

government from “seek[ing] to leverage funding to regulate speech outside the contours

of the program itself.” Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S.

205, 214-15 (2013) (“AID”). In AID, the Supreme Court held that Congress’s policy

requirement in the Leadership Act, which required organizations that receive funding

under the Act to have a policy expressly opposing prostitution, “demand[ed] that

funding recipients adopt—as their own—the Government’s view on an issue of public

concern,” thereby affecting “protected conduct outside the scope of the federally funded

program.” Id. at 217-18 (quoting Rust v. Sullivan, 500 U.S. 173, 197 (1991)). The “line”

between “conditions that define the limits of the government spending program” and

“conditions that seek to leverage funding to regulate speech outside the contours of the

program itself” is not always “clear” because “the definition of a particular program can


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always be manipulated to subsume the challenged condition.” Id. at 215-16. Thus,

although the government may “cho[ose] to fund one activity to the exclusion of

another,” at least so long as in doing so it is not “discriminat[ing] on the basis of

viewpoint,” Rust, 500 U.S. at 193, and “a legislature’s [or, presumably, executive’s]

decision not to subsidize the exercise of a fundamental right does not infringe that

right,” Regan v. Taxation with Representation of Wash, 461 U.S. 540, 549 (1983),

attempts to limit the scope of a grant or contract can also be subject to First Amendment

scrutiny, “lest the First Amendment be reduced to a simple semantic exercise.” AID, 570

U.S. at 215 (quoting Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 547 (2001)).

       Second, the government may not terminate government contracts “because of

the[] [contractors’ or grantees’] speech on matters of public concern.” Wabaunsee

County, 518 U.S. at 675. After all, under the “unconstitutional conditions” doctrine, “the

government ‘may not deny a benefit to a person on a basis that infringes his

constitutionally protected . . . freedom of speech’ even if he has no entitlement to that

benefit.” Id. at 674 (quoting Perry v. Sindermann, 408 U.S. 593, 597 (1972)).

       At least with respect to a government contractor, to prevail on a claim that the

government has unconstitutionally infringed its free speech rights, it “must prove that

the conduct at issue was constitutionally protected, and that it was a substantial or

motivating factor in the termination.” Id. at 675. “If the [contractor] discharges that

burden, the government can escape liability by showing that it would have taken the

same action even in the absence of the protected conduct.” Id. “And even termination

because of protected speech may be justified when legitimate countervailing

government interests are sufficiently strong.” Id. That is because government

contractors’ “First Amendment rights depend on the ‘balance between the interests of


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the [contractor], in commenting upon matters of public concern and the interest of the

[government], as an employer, in promoting the efficiency of the public services it

performs through its [contractors].” Id. at 676 (quoting Pickering v. Board of Ed. of

Twp. High Sch. Dist. 205, Will Cnty., 391 U.S. 563, 568 (1968)); see also id. at 677-78

(explaining that “Mt. Healthy [City Bd. of Ed. v. Doyle, 429 U.S. 274 (1977)] assures the

government’s ability to terminate contracts so long as it does not do so in retaliation for

protected First Amendment activity. Pickering requires a fact-sensitive and deferential

weighing of the government’s legitimate interests.”). In short, the government does not

have “carte blanche to terminate independent contractors for exercising First

Amendment rights.” Id. at 679. 6

              2.     Fifth Amendment Vagueness Claims (Counts 2 & 3)

       The Fifth Amendment to the U.S. Constitution guarantees that “[n]o person shall

be . . . deprived of life, liberty, or property without due process of law.” U.S. Const.

amend. V. “[C]larity in regulation is essential to the protections provided by the Due

Process Clause of the Fifth Amendment.” F.C.C. v. Fox Television Stations, Inc., 567

U.S. 239, 253 (2012) (citing United States v. Williams, 553 U.S. 285, 304 (2008)). “It is

a basic principle of due process that an enactment is void for vagueness if its

prohibitions are not clearly defined.” Grayned, 408 U.S. at 108; see also Williams, 553




6 For purposes of preliminary injunctive relief, for the reasons explained below,

Plaintiffs have shown a likelihood of success on the merits of their First Amendment
claims as to contractors and grantees—the latter in part because of application of the
test set forth in AID, 570 U.S. at 206). The Court need not and does not decide whether
(or to what extent) the Pickering burden-shifting and balancing components of the
Wabaunsee County analysis apply to government grantees, as opposed to contractors.


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U.S. at 304 (describing vagueness doctrine as “an outgrowth . . . of the Due Process

Clause of the Fifth Amendment.”).

       There are “at least two connected but discrete” due process concerns that

underlie the void for vagueness doctrine. Fox Television, 567 U.S. at 253.

       First, due process requires that parties “know what is required of them so they

may act accordingly.” Id.; see also Grayned, 408 U.S. at 108 (“Vague laws may trap the

innocent by not providing fair warning.”). “Perhaps the most basic of due process’s

customary protections is the demand of fair notice.” Sessions v. Dimaya, 584 U.S. 148,

177 (2018) (Gorsuch, J., concurring). “[V]oid for vagueness doctrine, at least properly

conceived, serves as a faithful expression of ancient due process and separation of

powers principles the framers recognized as vital to ordered liberty under our

Constitution.” Id. at 176. “Without an assurance that the laws supply fair notice, so

much else of the Constitution risks becoming only a ‘parchment barrier’ against

arbitrary power.” Id. at 181 (citing The Federalist No. 48, p. 308 (C. Rossiter ed. 1961)

(J. Madison)).

       Second, clear guidance ensures that “those enforcing the law do not act in an

arbitrary or discriminatory way.” Fox Television, 567 U.S. at 253 (citing Grayned, 408

U.S. at 108-09). The void-for-vagueness doctrine also is a “corollary” of separation-of-

powers principles; “[i]f the legislature could set a net large enough to catch all possible

offenders, and leave it to the courts to step inside and say who could be rightfully

detained, it would substitute the judicial for the legislative department.” Sessions, 584

U.S. at 156 (cleaned up) (quoting Kolender v. Lawson, 461 U.S. 352, 357-58 (1983)).

       The vagueness doctrine analysis is not uniform across all case types. “[T]he

degree of vagueness that the Constitution [allows] depends in part on the nature of the


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enactment.” Id. at 156 (quoting Hoffman Estates, 455 U.S. at 498). For example, the

Supreme Court has “expressed greater tolerance of enactments with civil rather than

criminal penalties because the consequences of imprecision are qualitatively less

severe.” Id. at 156 (quoting Hoffman Estates, 455 U.S. at 498-99). By comparison, when

the government awards “selective subsidies,” there is some tolerance for vagueness

because “the consequences of imprecision are not constitutionally severe.” See Nat’l

Endowmt. for the Arts v. Finley, 524 U.S. 569, 589 (1998). But the requirement to avoid

vagueness is particularly high when a law “threatens to inhibit the exercise of

constitutionally protected rights.” Hoffman Estates, 455 U.S. at 499. “If, for example,

the law interferes with the right of free speech or of association, a more stringent

vagueness test should apply.” Id. Indeed, “[p]recision of regulation must be the

touchstone in an area so closely touching our most precious freedoms.” NAACP v.

Button, 371 U.S. 415, 438 (1963); see also Reno v. ACLU, 521 U.S. 844, 871-72 (1997)

(explaining that “vagueness” of “content-based regulation of speech” raises “special First

Amendment concerns because of [their] obvious chilling effect on free speech”).

       C.     Termination Provision

              1.     Fifth Amendment vagueness claim

       Plaintiffs have shown a likelihood of success on their claim that the Termination

Provision is void for vagueness under the Fifth Amendment for two main reasons. First,

the vagueness of the term “‘equity-related’ grants or contracts” invites arbitrary and

discriminatory enforcement. Second, the vagueness of the term offers insufficient notice




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to current grantees about whether and how they can adapt their conduct to avoid

termination of their grants or contracts. 7

                     a)     Potential for arbitrary enforcement

       One of the primary rationales of the void-for-vagueness doctrine is the

importance of preventing “arbitrary and discriminatory enforcement.” Grayned, 408

U.S. at 108. “[I]f arbitrary and discriminatory enforcement is to be prevented, laws must

provide explicit standards for those who apply them. A vague law impermissibly

delegates basic policy matters to [those enforcing the law] for resolution on an ad hoc

and subjective basis, with the attendant dangers of arbitrary and discriminatory

application.” Id. at 108-09 (footnote omitted). Such vague laws “to some extent,

substitute the judicial for the legislative department of government.” Kolender, 461 U.S.

at 358 n.7 (internal quotation marks omitted). “Nor is the worry only that vague laws

risk allowing judges to assume legislative power.” Sessions, 584 U.S. at 182 (Gorsuch, J.,

concurring). “Vague laws also threaten to transfer legislative power to police and

prosecutors, leaving to them the job of shaping a vague statute’s [or, as here, executive

order’s] contours through their enforcement decisions.” Id. (citing Grayned, 408 U.S. at

108-09).

       Here, the very real possibility of arbitrary and discriminatory enforcement—both

between and within executive agencies—is rooted in the vagueness of the term “‘equity-

related’ grants or contracts.”


7 Although many vagueness challenges take place within the statutory context, the same

principles apply in the consideration of executive orders. See, e.g., Humanitarian Law
Project v. U.S. Treasury Dep’t, 578 F.3d 1133, 1146-47 (9th Cir. 2012) (relying upon
principles and case law relied upon in statutory vagueness cases to analyze the
vagueness of an executive order).


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       First, the term “equity” itself is broad. Although much of the J20 Order relates to

DEI and DEIA, “equity” is a concept that transcends issues of diversity, inclusion, and

accessibility. It also extends beyond areas addressed by anti-discrimination efforts and

civil rights laws. Cf. J20 Order § 1 (stating that a purpose of the Order is to address

“illegal and immoral discrimination programs”). Is “equity” limited to one part of the

acronym “DEI” or “DEIA”? Is it meant as an umbrella term or synonym for some or all

of the concepts encompassed by those acronyms? Given the J21 Order’s rejection of at

least one executive order that offers a definition for the term “equity,” should agency

leaders assume that the applicable definition is something materially different from that

one? See J20 Order § 1 (citing Executive Order 13985, 86 Fed. Reg. 7009, Jan. 25,

2021). Does the meaning of “equity” extend beyond DEI/DEIA?

       To say the least, the lack of clarity on these and other questions makes

unavoidable that agency decisionmakers will “shap[e] a vague [order’s] contours though

their enforcement decisions.” Sessions, 584 U.S. at 182 (Gorsuch, J., concurring). The

meaning of the word “equity” is unclear to a degree that risks arbitrary and

discriminatory enforcement, particularly absent any definitions or other guidance to

clarify the meaning of the term.

       Even more so, the modifier “related” adds an impermissible layer of vagueness. It

is wholly unclear how strong or how tenuous a grant or contract must “relate[]” to the

topic of “equity” to be subject to termination. In one of Plaintiffs’ exhibits, it appears

that the only basis for “clarification” about “whether . . . [the] program is using Federal

funds to promote or provide services out of compliance of the recent Executive Orders”

is the fact that a narrative associated with the grant award includes the terms




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“diversity,” “equity,” “equity action plan,” 8 and “DEI.” 9 ECF No. 39-10 at 1. This

evidence suggests that at least one executive agency appears to be, at minimum,

considering that a program might be “equity-related” simply because the word “equity”

appears in a grant narrative. Plaintiffs have amply established a likelihood that they will

succeed in proving that the Termination Provision invites arbitrary and discriminatory

enforcement over billions of dollars in government funding.

                     b)     Notice

       Another key rationale for the void-for-vagueness doctrine is the principle that

“[v]ague laws may trap the innocent by not providing fair warning.” Grayned, 408 U.S.

at 108. “[B]ecause we assume that man is free to steer between lawful and unlawful

conduct, we insist that laws give the person of ordinary intelligence a reasonable

opportunity to know what is prohibited, so that he may act accordingly.” Id. at 108-09.

       Here, the vagueness of the Termination Provision leaves current grant recipients

and contractual counterparts unsure about what activities are prohibited under the J20


8 As the J20 Order notes, the previous administration had directed agencies to create

and periodically update “Equity Action Plans.” J20 Order § 1 (“[p]ursuant to Executive
Order 13985 and follow-on orders, nearly every Federal agency and entity submitted
‘Equity Action Plans’”); see also Executive Order 14091, 88 Fed. Reg. 10825, Feb. 22,
2023 (directing agency heads to create and maintain Equity Action Plans). It is therefore
likely that some grants and contracts include one or multiple references to the term
“equity action plan” in relation to agency activities at the time, whether or not the grants
themselves could fairly be considered “equity-related.”
9 The email in this exhibit did not explicitly indicate that the inquiry was tied to a grant

termination decision. See ECF No. 39-10 at 1-2. However, one of the three options
offered in the email is for the recipient to “relinquish [their] award.” Id. at 2. The other
two options are to (1) self-certify that the grant activities are consistent with the
executive orders “and do[] not include any activities that promote DEI activities,” or (2)
“stop providing [] services [non-compliant with the executive orders] . . . immediately.”
Id. at 1-2.


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Order. Specifically, these individuals and organizations have no reasonable way to know

what, if anything, they can do to bring their grants into compliance such that they are

not considered “equity-related.”

       The possibilities are almost endless, and many are pernicious. If an elementary

school receives Department of Education funding for technology access, and a teacher

uses a computer to teach the history of Jim Crow laws, does that risk the grant being

deemed “equity-related” and the school being stripped of funding? If a road-

construction grant is used to fill potholes in a low-income neighborhood instead of a

wealthy neighborhood, does that render it “equity-related”? If a university grant helps

fund the salary of a staff person who then helps teach college students about sexual

harassment and the language of consent, would the funding for that person’s salary be

stripped as “equity-related”? If a business with a grant from the Small Business

Administration conducts a recruiting session at a historically Black college or university,

could the business be stripped of the grant on that basis?

       It appears from the record that at least one federal agency is giving grantees some

time to “[s]top providing [non-compliant] services in your program/project

immediately.” ECF No. 39-10 at 2. It is unknown whether other agencies will offer an

opportunity to adapt grant or contract activities at all, or whether the agencies will

unilaterally assess whether to terminate the grant or contract without giving the grantee

or contractor the opportunity to revise its program. But with the mandatory deadline to

terminate these grants and contracts just weeks away, see J20 Order § 2(b) (stating that

grants and contracts must be terminated “within sixty days of this order”), the time is

also ticking for grantees and contractors to take action to preserve their grants and

contracts, should they have such an option and should they choose to do so. The


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Termination Provision fails to provide current grantees with notice about “what is

prohibited, so that [they] may act accordingly.” Grayned, 408 U.S. at 108. Thus,

Plaintiffs have also demonstrated a likelihood of success on their Fifth Amendment

vagueness claim based on a lack of notice. 10

              2.     Plaintiffs may facially challenge the Termination
                     Provision for vagueness

       Defendants’ primary argument as to Plaintiffs’ vagueness challenge to the

Termination Provision is that the claim is “categorically unripe” because “a facial

vagueness challenge cannot arise under the Due Process Clause.” ECF No. 35 at 5 (citing

United States v. Sun, 278 F.3d 302, 309 (4th Cir. 2002)). Defendants maintain that to

bring a facial challenge, Plaintiffs must show that the Termination Provision cannot give

notice to any person to whom it applies. See ECF 35 at 3-4.

       The barrier to a facial challenge for vagueness, however, is not as absolute as the

government contends. Plaintiffs may bring their vagueness claim notwithstanding the

possibility that a very narrow subset of grantees could be on notice that their grants are

subject to termination pursuant to the J20 Order. The Supreme Court in Johnson v.

United States clarified that “although statements in some of our opinions could be read

to suggest otherwise, our holdings squarely contradict the theory that a vague provision

is constitutional merely because there is some conduct that clearly falls within the

provision’s grasp.” 576 U.S. 591, 602 (2015) (second emphasis added); see also Kolbe v.


10 Defendants have also argued that Plaintiffs have not shown a likelihood of success on

the merits of their Fifth Amendment claim as to the Termination Provision because it is
not “clear” whether Plaintiffs have a “property interest” sufficient to give rise to due
process protections at all. ECF No. 35 at 22-23. But as Plaintiffs explain, that is not the
law. See ECF No. 39 at 6; Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 576-77
(1972) (collecting cases).


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Hogan, 849 F.3d 114, 148 n.19 (2017) (en banc) (acknowledging this language from

Johnson and rejecting appellees’ argument that appellant must show that “no set of

circumstances exists” under which the law would be valid to bring a facial challenge)

(quoting United States v. Salerno, 481 U.S. 739, 745 (1987)).

       Here, the possibility that some small number of grants could “clearly fall[] within

the provision’s grasp,” Johnson, 576 U.S. at 602, does not preclude a facial challenge to

the vagueness of this provision. That is, perhaps a “person of ordinary intelligence”

could understand that a theoretical “All About Equity Grant” with a stated mission of

“fostering equity in all activities” may be considered an “‘equity-related’ grant” subject

to the Termination Provision. Cf. Grayned, 408 U.S. at 109 (“[W]e insist that laws give

the person of ordinary intelligence a reasonable opportunity to know what is prohibited,

so that he may act accordingly”). But the existence of an obvious application does not

preclude a facial vagueness challenge. Just as the mere possibility that a grocer could

charge a thousand dollars for a pound of sugar does not preclude a facial challenge to a

law barring charging an “unjust or unreasonable rate” for necessaries, Johnson, 576 U.S.

at 602-03 (citing United States v. L. Cohen Grocery Co., 255 U.S. 81, 89 (1921)), the

mere possibility that some government grants might fit squarely within the definition of

“equity-related” does not forestall the Court’s review of the otherwise broad and vague

term as it applies to government grants and contracts generally. 11



11 Because Plaintiffs have shown a likelihood of success on the merits with respect to

Count Two, their void-for-vagueness challenge to the Termination Provision, the Court
need not decide whether Plaintiffs have also shown a likelihood of success on the merits
on Count One, their Spending Clause claim as to the Termination Provision. The Court
does not decide one way or the other whether Plaintiffs are likely to succeed on the
merits of Count One.


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       D.     Certification Provision

       Section III.B.1.b above describes the First Amendment standards as they apply to

federal contractors and grantees. Applying those standards to the Certification

Provision, § 3(b)(iv) of the J21 Order, Plaintiffs are likely to succeed on their claim that

it violates the First Amendment because on its face it constitutes a content-based

restriction on the speech rights of federal contractors and grantees, and further because

such restriction expands to all of those contractors’ and grantees work, whether funded

by the government or not. J21 Order § 3(b)(iv)(B) (requiring certification that any

“counterparty or recipient” certify that “it does not operate any programs promoting

DEI that violate any applicable Federal anti-discrimination laws”) (emphasis added); id.

§ 3(b)(iv)(A) (requiring certification by every “contractual counterparty or grant

recipient” of materiality with respect to “its compliance in all respects with all applicable

Federal anti-discrimination laws”) (emphasis added).

       The language of the Certification Provision makes clear that the sole purpose of

the provision, regardless of the individualized implementation by executive agencies, is

for federal contractors and grantees to confirm under threat of perjury and False Claims

Act liability that they do not operate any programs promoting DEI that the government

might contend violate federal anti-discrimination laws. J21 Order § 3(b)(iv). This is

precisely a “condition[] that seek[s] to leverage funding to regulate speech outside the

contours of the program itself.” AID, 570 U.S. at 214-15. There is no language in the

Certification Provision that restricts the certification to be specifically about the use of

DEI using federal funding received by the government; the express language of the

Certification Provision demands that federal contractors and grantees essentially certify

that there is no “DEI” (whatever the executive branch decides that means) in any aspect


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of their functioning, regardless of whether the DEI-related activities occur outside the

scope of the federal funding.

       The executive branch’s ongoing implementation of the Certification Provision

confirms that the plain language of the Executive Order means what it says. The White

House’s fact sheet released on January 22, 2025 states that the Certification Provision

“requires simple and unmistakable affirmation that contractors will not engage in illegal

discrimination, including illegal DEI.” ECF No. 27-19 at 3. On February 7, 2025, a

federal contractor received a notice demanding that it certify that it “does not operate

any programs promoting Diversity, Equity, and Inclusion that violate any applicable

Federal anti-discrimination laws.” ECF No. 27-20 at 2. On February 12, 2025, the NEA

released language for compliance requiring grant applicants to agree not to “operate any

programs promoting [DEI] that violate any applicable Federal anti-discrimination laws,

in accordance with the [J21 Order].” ECF No. 39-8 at 11. These examples all point to the

conclusion that the clear purpose, and clear effect, of the Certification Provision is to

restrict speech related to topics such as equity, inclusion, and diversity that also falls

outside the scope of the federal funding.

       Defendants’ main response is that “Plaintiffs have no First Amendment right to

violate federal antidiscrimination laws in the first place” and that if Plaintiffs do not

wish to sign such a certification, “they may forgo contracting with the Government or

receiving federal funds.” ECF No. 35 at 16-17. Indeed, when the Court asked the

government during the hearing a series of questions regarding hypothetical

implementation of DEI by federal contractors and grantees, the government refused to

even attempt to clarify what the Certification Provision means, or whether these

hypothetical scenarios are legal. The government merely reiterated that promoting DEI


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can be unlawful and that there is uncertainty about whether programs or policies that

are sometimes referred to as “DEI” are lawful after the Supreme Court’s decision in

Students for Fair Admission. And the government did not dispute that the Certification

Provision is being applied to current federal grantees and contractors that have already

received and relied on federal funding, not just future federal grantees and contractors.

       Because even the government does not know what constitutes DEI-related speech

that violates federal anti-discrimination laws, Plaintiffs have easily shown a likelihood

that they will prevail in proving that the Certification Provision operates as a content-

based prior restraint on their speech, and likely will also prevail in showing that the

Certification operates as a facially viewpoint-discriminatory order as well. The speech-

chilling effect of the Certification Provision is particularly obvious given the vagueness

of the J20 and J21 orders, as discussed in sections III.C and III.E.2. Plaintiffs, their

members, and other federal contractors and grantees have shown they are unable to

know which of their DEI programs (if any) violate federal anti-discrimination laws, and

are highly likely to chill their own speech—to self-censor, and reasonably so—because of

the Certification Provision. Indeed, the Certification Provision was likely designed to

induce, and certainly has been shown to have the effect of inducing, federal contractors

and grantees to apply an overinclusive definition of illegal DEI to avoid risking liability.

This is exactly what AID prohibits—the government leveraging its funding to restrict

federal contractors and grantees from otherwise exercising their First Amendment

rights outside the scope of the federal funding.

       Defendants lastly make the argument that the Certification Provision is merely a

“directive” from the President, and that agencies need not include such certification

provisions “verbatim” but rather “in substance.” ECF No. 35 at 18. That argument is


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incompatible with the plain text of the Certification Provision, and the evidentiary

record of how agencies are already implementing it. There is no language in the

Certification Provision suggesting that agencies have discretion in deciding how narrow

or broad the scope of the Certification Provision should be, or suggesting that agencies

should restrict the certification to only apply to the use of federal funds. The express

language of the Certification Provisions requires federal contractors and grantees to

agree (or at the very least, prepare to agree) to not operate any programs promoting DEI

that they might guess the government might contend violate anti-discrimination laws.

       Defendants separately argue that “the Certification Provision falls within the

Executive’s authority to fund its policy priorities.” ECF No. 35 at 17 (citing Rust, 500

U.S. at 193). This is wholly unresponsive because, as the Supreme Court has held in both

Rust and AID, the Executive’s authority to fund its policy priorities is still subject to the

First Amendment, particularly where it seeks to encroach on protected speech made

outside the scope of the federal funding, as the Certification Provision does.

       Finally, in addition to showing that Defendants have violated the holding in AID,

Plaintiffs have also shown a likelihood of success on the merits in showing that the

Certification Provision unconstitutionally restricts, and retaliates against, contractors’

and grantees’ free speech rights even within the scope of the pertinent programs. As

discussed above, although the government may “cho[ose] to fund one activity to the

exclusion of another,” Rust, 500 U.S. at 193, and may “define the limits of the

government spending program,” AID, 570 U.S. at 214, it may not punish government

contractors or grantees “because of their speech on matters of public concern.”

Wabaunsee County, 518 U.S. at 675. And whether attempts to do so violate the First

Amendment then turn on a “balance between the interests of the [contractor], in


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commenting upon matters of public concern and the interest of the [government], as an

employer, in promoting the efficiency of the public services it performs through its

[contractors].” Id. at 676. Plaintiffs have shown a likelihood of success on this aspect of

their First Amendment claim with respect to the Certification Provision as well.

Plaintiffs have clearly shown that, if they refuse to comply with the Certification

Provision and are unable to receive federal funding directly as a result for

noncompliance, their First Amendment protected speech is “a substantial or motivating

factor in the termination.” Id. at 675.

       Therefore, Plaintiffs have shown a likelihood of success on the merits as to Count

Five of the complaint. 12

       E.     Enforcement Threat Provision

       The final challenged provision is the Enforcement Threat Provision, which directs

the Attorney General to, among other things, take “appropriate measures to encourage

the private sector to end illegal discrimination and preferences, including DEI,” to

“deter” such “programs or principles,” and to “identify . . . potential civil compliance

investigations” to accomplish such “deter[rence].” J21 Order § 4(b)(iii).

              1.     First Amendment Free Speech Claim (Count Four)

       Plaintiffs are likely to succeed on their claim that the Enforcement Threat

Provision, § 4(b)(iii) of the J21 Order, violates the First Amendment, because it



12 Because Plaintiffs have shown a likelihood of success on the merits with respect to

Count Five, their First Amendment challenge to the Certification Provision, the Court
need not decide whether Plaintiffs have also shown a likelihood of success on the merits
on Count Six, their separation-of-powers claim as to the Certification Provision. The
Court does not decide one way or the other whether Plaintiffs are likely to succeed on
the merits of Count Six.


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threatens to initiate enforcement actions against Plaintiffs (in the form of civil

compliance investigations) for engaging in protected speech. See Moody v. NetChoice,

603 U.S. 707, 743-44 (2024) (holding that, for a facial First Amendment challenge,

plaintiffs must show that the law at issue “prohibits a substantial amount of protected

speech relative to its plainly legitimate sweep”) (quoting United States v. Hansen, 599

U.S. 762, 770 (2023). 13

       The Enforcement Threat Provision applies broadly to the private sector;

therefore, unlike with the other provisions, the analysis is based on pure private speech

regulated by the First Amendment as opposed to the speech of federal contractors or

grantees. See § III.B, supra. Plaintiffs have shown a likelihood of success on the merits

of their claim that the Enforcement Threat Provision, which threatens to bring

enforcement against perceived violators of undefined standards, is, on its face, an

unlawful viewpoint-based restriction on protected speech. The Enforcement Threat

Provision expressly focuses on “deter[ring] DEI programs or principles that constitute

illegal discrimination or preferences” and “encourag[ing] the private sector to end illegal

discrimination and preferences, including DEI,” without, for example, a similar

restriction on anti-DEI principles that may also be in violation of existing federal anti-

discrimination laws. J21 Order § 4(b). That is textbook viewpoint-based discrimination.

The government’s threat of enforcement is not just targeted towards enforcement of



13 The Court does not reach this same conclusion with respect to the investigative

portion of the Enforcement Threat Provision to the extent it is merely a directive from
the President to the Attorney General to identify “[a] plan of specific steps or measures
to deter DEI programs or principles . . . that constitute illegal discrimination or
preferences.” J21 Order § 4(b)(iii). The Court denies Plaintiffs’ request to enjoin that
aspect of the Enforcement Threat Provision.


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federal law. Rather, the provision expressly targets, and threatens, the expression of

views supportive of equity, diversity and inclusion—a “particular view[] taken by

speakers.” Rosenberger, 515 U.S. at 829.

       The government’s conduct and subsequent communications pursuant to the J21

Order confirm this to be the case. The White House’s fact sheet released a day after the

J21 Order was issued claims, for example, that “radical DEI has dangerously tainted

many of our critical businesses and influential institutions.” ECF No. 27-19 at 4. It

further states that “many corporations use DEI . . . ignoring the fact that DEI’s

foundational rhetoric and ideas foster intergroup hostility and authoritarianism,” and

that “DEI creates and then amplifies prejudicial hostility and exacerbates interpersonal

conflict.” Id. Similarly, in the Attorney General’s February 5, 2025 memorandum to

internal DOJ employees regarding the interpretation of the J21 Order as to its directives

to remove references to DEI or DEIA within the executive branch, she specifically states

that the DOJ components should pay particular attention to ending references to DEI or

DEIA “including references to ‘unconscious bias,’ ‘cultural sensitivity,’ [and] ‘inclusive

leadership[.]’” ECF No. 27-14 at 3-4.

       The White House and Attorney General have made clear, through their ongoing

implementation of various aspects of the J21 Order, that viewpoints and speech

considered to be in favor of or supportive of DEI or DEIA are viewpoints the

government wishes to punish and, apparently, attempt to extinguish. And, as the

Supreme Court has made clear time and time again, the government cannot rely on the

“threat of invoking legal sanctions and other means of coercion” to suppress disfavored

speech. Bantam Books v. Sullivan, 372 U.S. 58, 67 (1963); Nat’l Rifle Assoc. of America

v. Vullo, 602 U.S. 175, 189 (2024).


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       Plaintiffs have also shown a likelihood of success that, regardless of the viewpoint

discrimination baked into the Enforcement Threat Provision, it is also a content-based

restriction on protected speech that would not pass the high bar of strict scrutiny. As

explained above, a content-based restriction on protected speech is presumptively

unconstitutional and will only be justified if the government’s restriction is narrowly

tailored to serve a compelling interest. See § III.B, supra. Like in Reed, here the speech

being regulated is determined “based on the message [the] speaker conveys,” 576 U.S. at

163, i.e., whether the speech promotes principles of inclusion, equity, and diversity. That

is clear based on the face of the J21 Order, and hammered home by the egregiously

content-based actions taken by various agencies pursuant to the J21 Order.

       Defendants’ only real attempt at a defense on the merits is to point to language in

the Enforcement Threat Provision that the “strategic enforcement plan” to combat

“DEI” in the “private sector” and “deter DEI programs or principles (whether

specifically denominated ‘DEI’ or otherwise) that constitute illegal discrimination or

preferences” is limited to “illegal discrimination or preferences.” J21 Order, § 4(b)(iii)

(emphasis added). In other words, Defendants contend that all they are threatening is to

target non-compliance with existing federal anti-discrimination law, and that the

Enforcement Threat Provision “does not target a First Amendment right to begin with”

because “Plaintiffs have no First Amendment right to engage in ‘illegal discrimination.’”

ECF No. 35 at 19. But, as explained above, see § III.E.1, supra, the J21 Order offers no

guidance or notice of what the government now considers “illegal” DEI. And more

importantly, the Fourth Circuit has already held, in HIAS, Inc. v. Trump, that a “purely

theoretical savings clause” like this one, “with no method or standard for invoking it,”

and where application of it “would undermine” the substantive provisions of the


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Executive Orders, does not “immunize [the Executive Order] from scrutiny.” 985 F.3d

309, 325 (4th Cir. 2021).

       Defendants further argue that “Plaintiffs’ allegation of ‘chilled’ speech is wholly

subjective because it relies on the unfavored presumption that the Government will

execute the [Orders’] directive in bad faith and ignore its own declaration to only target

illegal conduct.” ECF No. 35 at 19. Defendants cite to Ali v. Hogan to support this

proposition, but that case held that the plaintiff “does not allege an intention to engage

in any activity that could be construed to fall within the purview of the Executive Order,”

and so the plaintiff there was unable to allege a credible fear of chilled speech. 496 F.

Supp. 3d 917, 930 (D. Md. 2020), aff’d as modified, 26 F.4th 587 (4th Cir. 2022). Here,

not only have Plaintiffs shown many ways in which they have historically engaged in

protected speech on diversity-related topics that the executive branch has now

suggested is unlawful. Defendants also still do not respond to the baseline contention

that the Enforcement Threat Provision is facially unconstitutional as a viewpoint- and

content-based restriction on speech. Plaintiffs have shown they face “a ‘credible threat’

that the policy will be enforced against them.” Abbott v. Pastides, 900 F.3d 160, 176 (4th

Cir. 2018).

       Therefore, Plaintiffs have shown a likelihood of success on the merits as to Count

IV of the complaint.

              2.       Due Process Vagueness Claim (Count 3)

       Plaintiffs have also shown a likelihood of success on the merits of their facial due

process vagueness challenge to the Enforcement Threat Provision.

       Defendants have rescinded swaths of existing executive branch guidance on what

the executive branch considers the federal civil rights laws to require, prohibit, or allow.


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See J21 Order §§ 2, 3 (ordering executive agencies to terminate all “discriminatory and

illegal” guidance and regulations and revoking four executive orders). Yet neither the

J20 nor the J21 Order gives guidance on what the new administration considers to

constitute “illegal DEI discrimination and preferences,” id. § 4(b)(iv), or “[p]romoting

‘diversity,’” id. § 3(b)(ii), or “illegal DEI and DEIA policies,” id. § 1, or what types of “DEI

programs or principles” the new administration considers “illegal” and is seeking to

“deter,” id. § 4(b)(iii). The due process clause of the Fifth Amendment requires that

“prohibitions” on conduct be “clearly defined.” Grayned, 408 U.S. at 108. That is

especially the case where “the law interferes with the right of free speech.” Hoffman

Estates, 455 U.S. at 499. As explained above, Plaintiffs have shown a likelihood of

success on the merits of both of their First Amendment Claims: Count Five as to the

Certification Provision and Count Four as to the Enforcement Threat Provision.

Accordingly, the “more stringent vagueness test,” id., applies in this context.

       “Vague laws invite arbitrary power.” Sessions, 584 U.S. at 175 (Gorsuch, J.,

concurring). And Plaintiffs here have shown substantial evidence of the risks of such

arbitrariness here. By threatening the “private sector” with enforcement actions, J21

Order § 4, based on those vague, undefined standards, the Enforcement Threat

Provision is facially unconstitutional under the due process clause of the Fifth

Amendment.

       The harm to constitutionally protected notice interests caused by the newly

announced “prohibitions,” Grayned, 408 U.S. at 108, is further exacerbated by the

interaction between the Enforcement Threat Provision and the Certification Provision.

The Certification Provision states that not only are government contractors (and

grantees, insofar as they are required to aver to such certifications too) in a position to


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have to guess whether they are in compliance with the administration’s as-yet-

unpromulgated guidance on what constitutes, for example, “illegal . . . DEI,” J21 Order §

4(b)(iii), they are nevertheless being threatened with False Claims Act liability if they

miss the mark. Such escalation of consequences dramatically raises the stakes, and by

extension dramatically expands the degree of injury to interests protected by the Fifth

Amendment. See Sessions, 584 U.S. at 184 (Gorsuch, J., concurring) (“[T]oday’s civil

laws regularly impose penalties far more severe than those found in many criminal

statutes.”).

       Plaintiffs have shown a likelihood of success on the merits of Count 3.

IV.    IRREPARABLE HARM

       Each Plaintiff alleges that failure to enjoin the conduct at issue will cause

irreparable harm. A plaintiff seeking a preliminary injunction “must demonstrate a

likelihood of irreparable injury—not just a possibility—in order to obtain preliminary

relief,” in other words “that irreparable injury is likely in the absence of an injunction.”

Winter, 555 U.S. at 21. “To establish irreparable harm, the movant must make a ‘clear

showing’ that it will suffer harm that is ‘neither remote nor speculative, but actual and

imminent.’” Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, Owned by Sandra

Townes Powell, 915 F.3d 197, 216 (4th Cir. 2019) (quoting Direx Israel, Ltd. v.

Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991)). Irreparable means the

injury “cannot be fully rectified by the final judgment after trial.” Id. (quoting Stuller,

Inc. v. Steak N Shake Enters., 695 F.3d 676, 680 (7th Cir. 2012)).

       A “prospect of an unconstitutional enforcement ‘supplies the necessary

irreparable injury.’” Air Evac EMS, Inc. v. McVey, 37 F.4th 89, 103 (4th Cir. 2022)

(quoting Morales v. Trans World Airlines, Inc., 504 U.S. 374, 381-82 (1992)). Relatedly,


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where a plaintiff has shown a strong likelihood of success on a constitutional claim,

irreparable harm has been established. See Mills v. District of Columbia, 571 F.3d 1304,

1312 (D.C. Cir. 2009) (“It has long been established that the loss of constitutional

freedoms, ‘for even minimal periods of time, unquestionably constitutes irreparable

injury.’”) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

       Here, Plaintiffs allege four types of irreparable harm from the challenged

Executive Order provisions: threat of loss of funds, uncertainty regarding future

operations, loss of reputation, and chilled speech. The Court agrees that Plaintiffs have

adequately shown a sufficient likelihood of irreparable harm.

       First, as stated above, Plaintiffs have adequately shown a likelihood of success on

their constitutional claims, and thus irreparable injury. Mills, 571 F.3d at 1312; Leaders

of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (“Because

there is a likely constitutional violation, the irreparable harm factor is satisfied.”). This is

also why Defendants’ contention that regulatory uncertainty is not irreparable harm is

incorrect: here the uncertainty is sufficient to likely create constitutional violations such

as chilled protected speech, which provides the requisite irreparable harm. Defendants

assert that because the Orders only prohibit “illegal” conduct, Plaintiffs’ claims of chilled

speech are objectively unreasonable because they assume Defendants will enforce the

Executive Orders against constitutional conduct and in bad faith. But as discussed

above, the problem is not that Plaintiffs assume Defendants will enforce the Orders in

bad faith, but rather that the Challenged Provisions strip Plaintiffs of the ability to know

what the government might now consider lawful or unlawful. There have been 60 years

of statutes, regulations, and case law developed since the Civil Rights Act of 1964. The

Challenged Provisions strip away much of the prior executive branch guidance, and then


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threaten the loss or condition the receipt of federal funds, and also threaten civil

enforcement actions—some backed by the possibility of treble damages—for violations.

And in so doing, they threaten to punish prior expressions of protected speech, and chill

future expressions of protected speech.

       Second, while Defendants allege that Plaintiffs’ economic injuries are not

irreparable, they acknowledge that economic injuries severe enough to threaten

Plaintiffs’ existence, if shown, are irreparable. ECF No. 35 at 26 (asserting that “[a]ny

such financial loss must ‘threaten[] the very existence of the [Plaintiffs’] business[es].’”)

(quoting Packard Elevator v. ICC, 782 F.2d 112, 115 (8th Cir. 1986)). Plaintiffs have

shown that the Challenged Provisions threaten the livelihoods of numerous of Plaintiffs’

members and NADOHE’s existence. ECF No. 27-23 ¶¶ 26, 44-46 (NADOHE declaration

that the Challenged Provisions “will lead to the eradication of critical support for

students, staff, and faculty on campuses of higher education; the elimination of many of

[their] members’ jobs; and will ultimately threaten NADOHE’s existence” and expecting

severe loss of members and revenue based on past experiences); ECF No. 27-24 ¶ 21-25

(AAUP detailing its members’ expected losses); ECF No. 27-25 ¶¶ 35 (ROC United

asserting that because of the Challenged Provisions, it “will operate at a deficit to

continue to fulfill its mission until its funds are depleted”); ECF No. 27-26 ¶ 30

(Baltimore asserting that the uncertainty arising from the Orders will “likely reduce

support for other programs or shutter some altogether—just to sustain certain critical

municipal functions”).

       Similarly, while economic damages are often ultimately recoverable in litigation,

and thus not irreparable harm, if those damages are not recoverable, they can amount to

irreparable injury. Mountain Valley Pipeline, 915 F.3d at 218. In light of Defendants’


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sovereign immunity, monetary recovery in this case is likely to be precluded. See Mayor

& City Council of Balt. v. Azar, 392 F. Supp. 3d 602, 618 (D. Md. 2019) (providing that

“[s]hould Baltimore City lose Title X funding . . . the lost funds could not be recovered

should it ultimately succeed with this litigation, because HHS enjoys sovereign

immunity that precludes monetary recovery”) (citing Mountain Valley Pipeline, 915

F.3d at 217-18). Thus, the Court concludes that Plaintiffs have adequately established

the necessary irreparable harm.

V.     BALANCE OF THE EQUITIES AND PUBLIC INTEREST

       The final two factors are the balance of the equities and the public interest. The

balance of the equities and the public interest “merge when the Government is the

opposing party.” Miranda v. Garland, 34 F.4th 338, 365 (4th Cir. 2022) (quoting Nken

v. Holder, 556 U.S. 418, 435 (2009)). To balance the equities, the Court considers “the

relative harms to the applicant and respondent, as well as the interests of the public at

large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305

(1991) (Scalia, J., in chambers) (quoting Rostker v. Goldberg, 448 U.S. 1306, 1308

(1980) (Brennan, J., in chambers)).

       Plaintiffs contend that injunctive relief is necessary to prevent further harm and

that “[d]elayed remedy would be akin to ‘shut[ting] the stable door after the horse has

bolted.’” ECF No. 27-1 at 33-34 (quoting Juliana v. United States, 947 F.3d 1159, 1181

(9th Cir. 2020) (Staton, J., dissenting)). Plaintiffs also assert that “[s]wift elimination of

infringement on free speech rights is decidedly in the public interest.” Id. at 34 (citing

Nat’l Pub. Radio, Inc. v. Klavans, 560 F. Supp. 3d 916, 929 (D. Md. 2021)).

       On the other hand, Defendants assert that, because Plaintiffs’ First Amendment

claims fail on the merits, an injunction is not in the public interest. ECF No. 35 at 28.


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Defendants also argue that “there is no question that eradicating discrimination is in the

interest of the public,” id. (citing Students for Fair Admissions, 600 U.S. at 206), and

that they will be injured because an injunction “would effectively disable almost a dozen

federal agencies, as well as the President himself, from implementing the President’s

priorities consistent with their legal authorities.” Id. 28-29 (citing Maryland v. King,

567 U.S. 1301, 1303 (2012)).

       As discussed above, Plaintiffs have made a strong showing that they are likely to

succeed on the merits of the facial challenges to the Termination Provision, the

Certification Provision, and, in part, the Enforcement Threat Provision. And Plaintiffs

have also made a strong showing that they, their members, and similarly situated

government contractors, grantees, and members of the private sector are suffering

substantial current and imminent irreparable harm. As Plaintiffs put it, “[e]fforts to

foster inclusion have been widespread and uncontroversially legal for decades.” ECF No.

39 at 9. Plaintiffs’ irreparable harms include widespread chilling of unquestionably

protected speech, chilling that is unquestionably attributable to the Challenged

Provisions.

       The government contends that even if Plaintiffs have shown a likelihood of

success on the merits, and even if Plaintiffs are suffering irreparable harm, the

government’s interest in immediately imposing a new, not-yet-promulgated

interpretation of what it considers “eradicating discrimination,” ECF No. 35 at 28,

outweighs the merits of Plaintiffs’ claims and the irreparable harm they are suffering.

The government is free to promulgate regulations, take litigating positions, propose

legislation, or any number of other steps, so long as they are consistent with statutes and

the Constitution. The core problem here is that, as explained above, Plaintiffs have


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shown that the specific Challenged Provisions infringe on core constitutional

protections, and that the status quo must be maintained while Plaintiffs and the

government litigate the claims asserted in this case. The balance of equities tips strongly

in Plaintiffs’ favor.

VI.    SCOPE OF PRELIMINARY INJUNCTION

       Having determined that Plaintiffs are entitled to a preliminary injunction, the

Court must determine its proper scope. “District courts have broad discretion to craft

remedies based on the circumstances of a case, but likewise must ensure that ‘a

preliminary injunction is no more burdensome to the defendant than necessary to

provide complete relief to the plaintiffs.’” HIAS, 985 F.3d at 326 (quoting Roe v. Dep’t of

Def., 947 F.3d 207, 231 (4th Cir. 2020)).

       For the reasons explained above, Plaintiffs have amply shown they are entitled to

a preliminary injunction that protects them, and their members, from the substantial,

irreparable harms they have shown are being caused by the Challenged Provisions and

Defendants’ conduct pursuant to those provisions. The question remains whether the

preliminary injunction should also apply to non-parties. This is sometimes referred to as

presenting whether the injunction should be “nationwide,” but that is a misnomer; here,

Plaintiffs themselves are national organizations, and so the injunction would be

“nationwide” in any event. The relevant question is whether, in light of the claims and

Plaintiffs’ showing of likelihood of success on the merits, including similarly situated

non-parties within the scope of an injunction would be appropriate.

       Here, Plaintiffs have made that showing. “A district court may issue a nationwide

injunction so long as the court ‘mold[s] its decree to meet the exigencies of the

particular case.’” HIAS, 985 F.3d at 326 (alteration in original) (quoting Trump v. Int’l


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Refugee Assistance Project, 582 U.S. 571, 580 (2017)). An injunction that extends to

non-parties may be particularly “appropriate” where, as here, “the government relies on

a ‘categorical policy,’ and when the facts would not require different relief for others

similarly situated to the plaintiffs.” Id. (quoting Roe, 947 F.3d at 231). Moreover, “[o]nce

a constitutional violation is found, a federal court is required to tailor the scope of the

remedy to fit the nature and extent of the constitutional violation.” Hills v. Gautreaux,

425 U.S. 284, 293-94 (1976) (citations and internal quotation marks omitted). “[W]here

a law is unconstitutional on its face, and not simply in its application to certain

plaintiffs, a nationwide injunction is appropriate.” Cnty. of Santa Clara v. Trump, 250

F. Supp. 3d 497, 539 (N.D. Cal. 2017) (citing Califano v. Yamasaki, 442 U.S. 682, 702

(1979) (“[T]he scope of injunctive relief is dictated by the extent of the violation

established, not by the geographical extent of the plaintiff.”)).

       In HIAS, the Fourth Circuit affirmed an injunction that extended to non-parties

similarly situated to the plaintiffs in that case where “[t]he refugee resettlement

program by its nature impacts refugees assigned to all nine resettlement agencies, which

place refugees throughout the country,” and where “[e]njoining the Order and Notice

only as to the plaintiff resettlement agencies would cause inequitable treatment of

refugees and undermine the very national consistency that the Refugee Act is designed

to protect.” 985 F.3d at 326-27. Analogous circumstances apply here, where, as

explained above, the Termination and Enforcement Threat Provisions are

unconstitutionally vague as to all contractors and grantees who are subject to them, and

the Certification and Enforcement Threat Provisions are content- and viewpoint-based

restrictions that chill speech as to anyone the government might conceivably choose to

accuse of engaging in speech about “equity” or “diversity” or “DEI,” or the other topics


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the J20 and J21 Orders cite—or as the Attorney General cites, for example, “unconscious

bias,” “cultural sensitivity” or “inclusive leadership.” ECF No. 27-14 at 3-4.

       As noted above, for prudential and separation-of-powers reasons, the Court will

not enjoin the Attorney General from preparing the report pursuant to the J21 Order, or

engaging in investigation. But otherwise, Plaintiffs have shown they are entitled to an

injunction as to the Termination, Certification and Enforcement Threat Provisions,

whether as applied to Plaintiffs or to others.

VII.   BOND

       Defendants have requested that “any injunctive relief accompany a bond under

[Federal Rule of Civil Procedure] 65(c).” ECF No. 35 at 32. Defendants have not

proposed a precise amount for bond, but note that “preliminary relief would potentially

mandate that the Executive spend money that may not be recouped once distributed.”

Id. Plaintiffs oppose this request, because the bond amount Defendants seem to forecast

they would request would be an enormous financial barrier and “Defendants point to no

example of a court ordering a bond in analogous circumstances.” ECF No. 39 at 17.

       Federal Rule of Civil Procedure 65(c) states, in relevant part: “The court may

issue a preliminary injunction or a temporary restraining order only if the movant gives

security in an amount that the court considers proper to pay the costs and damages

sustained by any party found to have been wrongfully enjoined or restrained.” Although

the rule is “mandatory and unambiguous,” Hoechst Diafoil Co. v. Nan Ya Plastics Corp.,

174 F.3d 411, 421 (4th Cir. 1999), the Fourth Circuit has acknowledged that “where the

circumstances warrant it, the court may fix the amount of the bond accordingly” and

noting that “[i]n some circumstances, a nominal bond may suffice.” Id. at 421 n.3

(cleaned up); see also Pashby v. Delia, 709 F.3d 307, 332 (4th Cir. 2013) (“[T]he district


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court retains the discretion to set the bond amount as it sees fit or waive the security

requirement.”) (emphasis added).

       In addition, courts in other circuits have frequently waived the bond requirement

in cases where a fundamental constitutional right is at stake. See, e.g., Honeyfund.com,

Inc. v. DeSantis, 622 F. Supp. 3d 1159, 1186 (N.D. Fla. 2022) (waiving the bond

requirement under Rule 65(c) because the “unlawful impact on Plaintiffs’ First

Amendment rights weighs against requiring a bond”); Thomas v. Andino, 613 F. Supp.

926, 956 (D.S.C. 2020) (waiving bond in a voting rights case); Nat. Res. Def. Council,

Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971) (noting that courts have held that

security is not necessary where the effect would deny plaintiffs the right to judicial

review of administrative action) (citing cases).

       Here, because the Plaintiffs seek to protect their First and Fifth Amendment

rights, and because a bond of the size Defendants appear to seek would essentially

forestall Plaintiffs’ access to judicial review, the Court will set a nominal bond of zero

dollars under Rule 65(c).

VIII. CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction is

granted in part and denied in part. Their motion for a temporary restraining order is

denied as moot. A separate preliminary injunction order follows.



Date: February 21, 2025                                  /s/
                                                   Adam B. Abelson
                                                   United States District Judge




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